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          E x hi bit A
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        E m ail S u bj e ct:          Te r mi n ati o n f o r C o n v e ni e n c e of t h e G o v e r n m e nt – C o nt r a ct # I ns ert C o ntr a ct
        N u m b er



        P urs u a nt t o F A R cl a us e 5 2. 2 1 2- 4(l), t h e C o ns u m er Fi n a n ci al Pr ot e cti o n B ur e a u ( C F P B) h er e b y
        t er mi n at es i n its e ntir et y t h e s u bj e ct c o ntr a ct, eff e cti v e t o d a y. As s u c h, y o u ar e dir e ct e d t o
        i m m e di at el y st o p all w or k u n d er t h e s u bj e ct c o ntr a ct, t er mi n at e all s u b c o ntr a cts, a n d pl a c e n o f urt h er
        or d ers. Yo u ar e als o dir e ct e d t o pr o vi d e b y el e ctr o ni c m e a ns si mil ar i nstr u cti o ns t o all
        s u b c o ntr a ct ors a n d s u p pli ers. Yo u ar e r e q uir e d t o k e e p d et ail e d, i n di vi d u al r e c or ds of y o ur st e ps
        t a k e n a n d e x p e n dit ur es, if a n y, y o u i nt e n d t o cl ai m as a r es ult of t h e C F P B t er mi n ati n g t his c o ntr a ct.
        We r e q u est t h at y o u pr o vi d e wit hi n 3 0 d a ys t h e e ntir et y of t h e t er mi n ati o n s ettl e m e nt pr o p os al(s), if
        a n y, y o u will b e s u b mitti n g f or t h e s u bj e ct c o ntr a ct. Fi n all y, it is n e c ess ar y t h at y o u i m m e di at el y
        c o nfir m r e c ei pt of t his t er mi n ati o n f or c o n v e ni e n c e n oti c e vi a a n el e ctr o ni c m ail ( e- m ail) r es p o ns e t o
        m e, t h e C o ntr a cti n g Offi c er f or t h e s u bj e ct c o ntr a ct.



F or c o ntr a cts t h at s h all c o nti n u e, pl e as e s e n d t h e f oll o wi n g e m ail ( o n e e m ail f or e a c h r es p e cti v e
c o ntr a ct):



        E m ail S u bj e ct:          C o nti n u ati o n of S e r vi c es N otifi c ati o n – C o nt r a ct # I ns ert C o ntr a ct N u m b er



        Yo u mi g ht h a v e r e c ei v e d a bl a n k et St o p W or k Or d er fr o m t h e Offi c e of Fi n a n c e a n d Pr o c ur e m e nt
        y est er d a y. Pl e as e n ot e t h at y o u ar e b ei n g i nstr u ct e d t o c o nti n u e w or k o n t h e s u bj e ct c o ntr a ct a n d
        t h er e will n ot b e a w or k st o p p a g e. T h e Offi c e of Fi n a n c e a n d Pr o c ur e m e nt will f oll o w u p if t h er e ar e
        a n y a d diti o n al c h a n g es i n dir e cti o n.



A g ai n, t h a n k y o u s o m u c h f or y o ur w or k o n t h es e!                Pl e as e m o nit or y o ur e m ail f or t h e first ( a n d f ut ur e)
S pr e a ds h e et(s) fr o m Mi k e Gl e as o n. T h a n k y o u!!



Si n c e r el y,

Ni c k Ol s o n

P r o c u r e m e nt T e a m L e a d | Offi c e of Fi n a n c e a n d P r o c u r e m e nt

M o bil e:



C o n s u m e r Fi n a n ci al P r ot e cti o n B u r e a u
c o n s u m erfi n a n c e. g o v




C o nfi d e nti alit y N oti c e: If y o u r e c ei v e d t hi s e m ail b y mi st a k e, y o u s h o ul d n otif y t h e s e n d e r of t h e mi st a k e a n d d el et e
t h e e- m ail a n d a n y att a c h m e nt s. A n i n a d v e rt e nt di s cl o s u r e i s n ot i nt e n d e d t o w ai v e a n y p ri vil e g e s.
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          E x hi bit B
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         E x hi bit C
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                                                                     F e br u ar y 1 1, 2 0 2 5

         M E M O R A N D U M F O R [ E m pl o y e e First N a m e] [ E m pl o y e e L ast N a m e] , [J o b Titl e], [ Di visi o n]

         F R O M:                                 A d a m M arti n e z
                                                 A cti n g C hi ef H u m a n C a pit al Offi c er
                                                 O p er ati o ns Di visi o n, Fr o nt Offi c e

         S U BJ E C T:                           N otifi c ati o n of Ter mi n ati o n D uri n g Pr o b ati o n ar y P eri o d

         R E F E R E N C E S:                    5 U. S. C. § 7 5 1 1
                                                 5 U. S. C. § 3 3 2 1( a)
                                                 5 C. F. R. § § 3 1 5. 8 0 3 a n d 8 0 4
                                                 5 C. F. R. § 3 1 6. 3 0 4

                     T his is t o pr o vi d e n otifi c ati o n t h at I a m r e m o vi n g y o u fr o m y o ur p ositi o n of
         [J o b Titl e] a n d f e d er al s er vi c e c o nsist e nt wit h t h e a b o v e r ef er e n c es.

                     O n [ A p p oi nt m e nt D at e] , t h e a g e n c y a p p oi nt e d y o u t o t h e p ositi o n of [J o b Titl e]. As
         d o c u m e nt e d o n y o ur a p p oi nt m e nt St a n d ar d F or m 5 0 ( S F- 5 0), y o ur a p p oi nt m e nt is s u bj e ct
         t o a pr o b ati o n ar y/tri al p eri o d. T h e a g e n c y als o i nf or m e d y o u of t his r e q uir e m e nt i n t h e j o b
         o p p ort u nit y a n n o u n c e m e nt f or t h e p ositi o n.

                     G ui d a n c e fr o m t h e Offi c e of P ers o n n el M a n a g e m e nt ( “ O P M ”) st at es, “ A n
         a p p oi nt m e nt is n ot fi n al u ntil t h e pr o b ati o n ar y p eri o d is o v er, ” a n d t h e pr o b ati o n ar y p eri o d
         is p art of “t h e hiri n g pr o c ess f or e m pl o y e es. ” 1 “ A pr o b ati o n er is still a n a p pli c a nt f or a
         fi n ali z e d a p p oi nt m e nt t o a p arti c ul ar p ositi o n as w ell as t o t h e F e d er al s er vi c e ” 2 “ U ntil t h e
         pr o b ati o n ar y p eri o d h as b e e n c o m pl et e d, ” a pr o b ati o n er h as “t h e b ur d e n t o d e m o nstr at e
         w h y it is i n t h e p u bli c i nt er est f or t h e G o v er n m e nt t o fi n ali z e a n a p p oi nt m e nt t o t h e ci vil
         s er vi c e f or t his p arti c ul ar i n di vi d u al. ” 3
                     U nf ort u n at el y, t h e A g e n c y fi n ds t h at t h at y o u ar e n ot fit f or c o nti n u e d e m pl o y m e nt
         b e c a us e y o ur a bilit y, k n o wl e d g e a n d s kills d o n ot fit t h e A g e n c y’s c urr e nt n e e ds.
                    F or t h es e r e as o ns, I r e gr ett a bl y i nf or m y o u t h at I a m r e m o vi n g y o u fr o m y o ur
         p ositi o n of [J o b Titl e] wit h t h e a g e n c y a n d t h e f e d er al ci vil s er vi c e eff e cti v e [ Eff e cti v e D at e] .

                    If y o u b eli e v e t his a cti o n is b ei n g t a k e n b as e d o n p artis a n p oliti c al r e as o ns or
         m arit al st at us, y o u h a v e a ri g ht t o fil e a n a p p e al wit h t h e M erit S yst e ms Pr ot e cti o n B o ar d
         ( M S P B) u n d er 5 C. F. R. § 3 1 5. 8 0 6. Yo u m ust fil e a n a p p e al wit hi n 3 0 d a ys of t h e eff e cti v e

            1
                O P M, Pr a cti c al Ti ps f or S u p er vis ors of Pr o b ati o n ers .
            2
              S e e U. S. M erit S yst e ms Pr ot e cti o n B o ar d R e p ort t o t h e Pr esi d e nt a nd C o n gr ess, T h e Pr o b ati o n ar y P eri o d:
A Criti c al Ass ess m e nt O p p ort u nit y ( A u g ust 2 0 0 5)
            3
              I d.
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d at e of t his d e cisi o n or 3 0 d a ys aft er t h e d at e of y o ur r e c ei pt of t his d e cisi o n, w hi c h e v er is
l at er. Yo u s h o ul d r e vi e w M S P B r e g ul ati o ns at 5 C. F. R. § § 1 2 0 1. 1 4 a n d 1 2 0 1. 2 4 f or
i nstr u cti o ns o n h o w t o fil e a n el e ctr o ni c a p p e al a n d c o nt e nt r e q uir e m e nts of t h e a p p e al,
r es p e cti v el y. F or m or e i nf or m ati o n, pl e as e visit w w w. ms p b. g o v or c o nt a ct y o ur l o c al
M S P B r e gi o n al or fi el d offi c e.

           Yo u will b e s e nt a p ost a g e p ai d b o x t o r et ur n y o ur C F P B I D b a d g e, l a pt o p, i P h o n e,
a n d ot h er e q ui p m e nt or it e ms o w n e d b y C P F B.

           F or q u esti o ns r el at e d t o e m pl o y e e b e n efits (s u c h as c o nti n u ati o n of c o v er a g e f or
h e alt h c o v er a g e, wit h dr a w al of r etir e m e nt c o ntri b uti o ns, et c.) or ot h er m att ers ass o ci at e d
wit h e m pl o y e e b e n efits c o nt a ct C F P B _ H R B e n efits @ cf p b. g o v .

            I a p pr e ci at e y o ur s er vi c e t o t h e A g e n c y a n d wis h y o u t h e gr e at est of s u c c ess i n y o ur
f ut ur e e n d e a v ors. If y o u h a v e a n y q u esti o ns, pl e as e y o u m a y c o nt a ct t h e C F P B E m pl o y e e
R el ati o ns t e a m at C F P B _ E m pl o y e e R el ati o ns @ cf p b. g o v .
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         E x hi bit D
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          E x hi bit E
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          E x hi bit F
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SS uu bj
      bj ee cct:
              t:          F W: D U E A T N O O N: St at ut or y r e q uir e m e nt f or c o ntr a ct d at a
DD at
    at e:
        e:                T u e s d a y, F e br u ar y 1 1, 2 0 2 5 at 1 1: 1 1: 3 9 A M E a st er n St a n d ar d Ti m e
FFrr oo m:
         m:               D or s e y, D ari a n ( C F P B)
TT o:
    o:                        Pf a R, M att h e w ( C F P B)
AAtttt aa cc hh mm ee nntt s:
                           s: C R _ A cti v e C o ntr a ct s Li st C o m pl et e d. xl s x




B est,
D ari a n

D a ri a n D o r s e y
D e p ut y A s s o ci at e Di r e ct o r | Di vi si o n of C o n s u m e r R e s p o n s e a n d E d u c ati o n
Offi c e:                            | M o bil e:

FFrr oo m:
         m: D ors e y, D ari a n ( C F P B)
SS ee nt:
       nt: T u es d a y, F e br u ar y 1 1, 2 0 2 5 1 1: 1 0 A M
TT o:
    o: G u e y e, J af n ar ( C F P B)
CC c:
   c: J o h ns o n, C hrist o p h er ( C F P B)                                                                  ; G ali c ki, J os h u a ( C F P B)
                                          ; J a m es, D a n a ( C F P B)                                                    ; M ar P n ez, A d a m ( C F P B)

S u bj e c t: R E: D U E A T N O O N: St at ut or y r e q uir e m e nt f or c o ntr a ct d at a

Hi J af n ar,

Pl e as e s e e a Y a c h e d f or C o ns u m er R es p o ns e a n d E d u c a P o n.

B est,
D ari a n

D a ri a n D o r s e y
D e p ut y A s s o ci at e Di r e ct o r | Di vi si o n of C o n s u m e r R e s p o n s e a n d E d u c ati o n
Offi c e:                            | M o bil e:

FFrr oo m:
         m: G u e y e, J af n ar ( C F P B)
SS ee nt:
       nt: T u es d a y, F e br u ar y 1 1, 2 0 2 5 1 0: 2 7 A M
TT o:
    o: P ass, S o n y a ( C F P B)                                         S o k ol o v, D a n ( C F P B)                                             >; G elf o n d,
R e b e c c a ( C F P B)                                              ; D ors e y, D ari a n ( C F P B)
C h a n g, J e a n ( C F P B)                                       ; W arr e n, L a S h a u n ( C F P B)                                                       ;
H u g gi ns, C ass a n dr a ( C F P B)                                                     ; S u Y o n, J o c el y n ( C F P B)
                                           ; W hit e, S o n y a ( C F P B)
CC c:
   c: G ali c ki, J os h u a ( C F P B)                                            ; J a m es, D a n a ( C F P B)                                               ;
H al p eri n, Eri c ( C F P B)                                          ; S al as, L or el ei ( C F P B)                                                ; J o h ns o n,
C hrist o p h er ( C F P B)                                                       ; M ar P n ez, A d a m ( C F P B)
                                            ; P a p p al ar d o, J a nis ( C F P B)
S u bj e c t: D U E A T N O O N: St at ut or y r e q uir e m e nt f or c o ntr a ct d at a
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         E x hi bit G
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         E x hi bit H
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1 7 0 0 G Str e et , N .W ., W a s hi n gt o n, D C 2 0 5 5 2


ME M OR A N D U M F OR :                             J U LI A B A R N A R D
                                                     M A R K E T S & P O LI C Y F E L L O W ( P R O G M A N A G E R)
                                                     DI R E C T O R , O F F P O LI C Y P L A N & S T R A T

F R O M:                                             A d a m M arti n e z
                                                     A cti n g C hi ef H u m a n C a pit al Offi c er
                                                     O p er ati o ns Di visi o n, Fr o nt Offi c e

D A T E:                                              F e br u ar y 1 3, 2 0 2 5

S U BJ E C T:                                        T er mi n ati o n of T e m p or ar y/ E x c e pt e d A p p oi nt m e nt

O n F e br u ar y 2 7, 2 0 2 2 , y o u w er e hir e d o n a T e m p or ar y E x c e pt e d S er vi c e a p p oi nt m e nt as a /a n
M A R K E T S & P O LI C Y F E L L O W ( P R O G M A N A G E R) i n DI R E C T O R , O F F P O LI C Y P L A N &
S T R A T , at t h e C o ns u m er Fi n a n ci al Pr ot e cti o n B ur e a u f or a p eri o d n ot t o e x c e e d F e br u ar y 2 7,
2026.

T h e p ur p os e of t his m e m or a n d u m is t o n otif y y o u t h at y o ur e m pl o y m e nt will b e t er mi n at e d
eff e cti v e at t h e cl os e of b usi n ess o n F e br u ar y 1 3, 2 0 2 5 , d u e t o E x e c uti v e Or d er I m pl e m e nti n g
T h e Pr esi d e nt's " D e p art m e nt of G o v er n m e nt Effi ci e n c y " W or kf or c e O pti mi z ati o n I niti ati v e –
T h e W hit e H o us e d at e d F e br u ar y 1 1, 2 0 2 5 .

If y o u b eli e v e t his t er mi n ati o n is b ei n g t a k e n i n w h ol e or i n p art b e c a us e of dis cri mi n ati o n b as e d
o n r a c e, c ol or, r eli gi o n, s e x, n ati o n al ori gi n, dis a bilit y, a g e, g e n eti c i nf or m ati o n, pr e g n a n c y
a n d/ or r e pris al f or pri or E E O a cti vit y, y o u m a y fil e a dis cri mi n ati o n c o m pl ai nt wit h t h e A g e n c y’s
Offi c e of Ci vil Ri g hts. T o i niti at e t h e f or m al dis cri mi n ati o n c o m pl ai nt pr o c ess, y o u m ust first
c o nt a ct a n E E O C o u ns el or wit hi n f ort y -fi v e ( 4 5) c al en d ar d a ys of t h e e m pl o y m e nt a cti o n or
e v e nt y o u b eli e v e is dis cri mi n at or y, h ar assi n g, or r et ali at or y. Y o u m a y c o nt a ct t h e Offi c e of Ci vil
Ri g hts at                                        or                          ,                           or                        ( T T Y).

If y o u b eli e v e t his a cti o n is i n r et ali ati o n f or y o ur m a ki n g pr ot e ct e d w histl e bl o wi n g dis cl os ur es,
y o u m a y als o s e e k c orr e cti v e a cti o n fr o m t h e U. S. Offi c e of S p e ci al C o u ns el ( O S C). If y o u d o
s o, y o ur a p p e al m a y b e li mit e d t o w h et h er t h e A g e n c y t o o k o n e or m or e c o v er e d p ers o n n el
a cti o ns a g ai nst y o u i n r et ali ati o n f or m a ki n g pr ot e ct e d w histl e bl o wi n g dis cl os ur es, a n d y o u will
n ot b e a bl e t o c h all e n g e t h e d e cisi o n o n ot h er b as es i n t h at a cti o n. T o s e e k c orr e cti v e a cti o n fr o m
t h e O S C, y o u m a y s u b mit y o ur c o m pl ai nt o nli n e. M or e i nf or m ati o n o n or a b o ut fili n g a
c o m pl ai nt wit h t h e O S C m a y b e f o u n d at htt ps:// os c. g o v/ P a g es/ Fil e -C o m pl ai nt. as p x . As a n
alt er n ati v e, y o u m a y c o m m u ni c at e i n writi n g t o t h e f oll o wi n g a d dr ess:

                                                              C o m pl ai nts E x a mi ni n g U nit
                                                           U. S. Offi c e of S p e ci al C o u ns el
                                                           1 7 3 0 M Str e et, N. W., S uit e 2 1 8
                                                             W as hi n gt o n, D C 2 0 0 3 6 -4 5 0 5
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   If y o u b eli e v e y o u q u alif y as a n e m pl o y e e u n d er 5 U. S. C. § 7 5 1 1, y o u m a y h a v e t h e ri g ht t o
   a p p e al t his a cti o n t o t h e M erit S yst e ms Pr ot e cti o n B o ar d ( M P S B) n o l at er t h a n 3 0 c al e n d ar d a ys
   aft er t h e eff e cti v e d at e . F ail ur e t o fil e a ti m el y a p p e al c o ul d r es ult in dis miss al of y o ur a p p e al
   a bs e nt g o o d c a us e . Y o ur a p p e al m a y b e m a d e b y m ail, f a csi mil e, c o m m er ci al o v er ni g ht d eli v er y,
   p ers o n al d eli v er y, or el e ctr o ni c all y at htt p:// e -a p p e al. ms p b. g o v . A d o w nl o a d a bl e a p p e al f or m
   a n d a d diti o n al i nf or m ati o n ar e als o a v ail a bl e at t h e M S P B w e bsit e at
   htt ps:// w w w. ms p b. g o v/ a p p e als/f or ms. ht m . T h e d at e of fili n g b y m ail is c o nsi d er e d t o b e t h e d at e
   of t h e p ost m ar k, t h e d at e of t h e fili n g b y f a csi mil e or el e ctr o ni c all y is t h e d at e of s u c c essf ul
   tr a ns missi o n. If t h e fili n g is b y p ers o n al d eli v er, it s h all b e c o nsi d er e d fil e d o n t h e d at e it is
   r e c ei v e d b y t h e M S P B.

   T h e a p p e al s h o ul d b e fil e d wit h t h e M S P B R e gi o n al Offi c e l o c at e d cl os est t o t h e e m pl o y e e’s
   d ut y st ati o n - htt ps:// w w w. ms p b. g o v/ a b o ut/ c o nt a ct. ht m .

   A n y a p p e al t o t h e M S P B m ust i n cl u d e t h e f oll o wi n g i nf or m ati o n, w hi c h i d e ntifi es t h e A g e n c y
   offi ci al t o w h o m t h e M S P B will s e n d a c o p y of y o ur M S P B a p p e al a n d t h e A c k n o wl e d g e m e nt
   Or d er iss u e d o n y o ur a p p e al: Assist a nt G e n er al C o u n s el, L e g al Di visi o n, C F P B, 1 7 0 0 G Str e et,
   N W, W as hi n gt o n, D C, 2 0 5 5 2,                                                          .

   Y o u will b e s e nt a p ost a g e p ai d b o x t o r et ur n y o ur C F P B I D b a d g e, l a pt o p, i P h o n e, a n d ot h er
   e q ui p m e nt or it e ms o w n e d b y C P F B.
   F or q u esti o ns r el at e d t o e m pl o y e e b e n efits (s u c h as c o nti n u ati o n of c o v er a g e f or h e alt h c o v er a g e,
   wit h dr a w al of r etir e m e nt c o ntri b uti o ns, et c.) or ot h er m att ers ass o ci at e d wit h e m pl o y e e b e n efits
   c o nt a ct C F P B _ H R B e n efits @ cf p b. g o v .

   Y o u c a n r e q u est a c o p y of y o ur O P F d o c u m e nts fr o m B ur e a u of Fis c al S er vi c es ( B F S) at
                    o pti o n 4 or O P FI n q uiri es @fis c al.tr e as ur y. g o v .

   I a p pr e ci at e y o ur s er vi c e t o t h e A g e n c y a n d wis h y o u t h e gr e at est of s u c c ess i n y o ur f ut ur e
   e n d e a v ors. If y o u h a v e a n y q u esti o ns, pl e as e y o u m a y c o nt a ct t h e C F P B E m pl o y e e R el ati o ns t e a m
   at C F P B E m pl o y e e R el ati o ns @ cf p b. g o v .




c o n s u m e rfi n a n c e. g o v
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            E x hi bit I
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           E x hi bit J
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    Fr o m : C F P B _ H C S y s O p s
S u bj e ct: U p d at e d Ti m e k e e pi n g I n str u cti o n s f or P P 0 3
     D at e: F e br u ar y 1 4, 2 0 2 5 at 1 2: 2 7 P M
        To :
        C c : C F P B _ W or k Lif e


            C oll e a g u e s,

            O n M o n d a y, F e br u ar y 1 0 t h C F P B’ s A cti n g Dir e ct or i s s u e d g ui d a n c e f or B ur e a u st aff t o
            p a u s e w or k t a s k s. I n a c c or d a n c e wit h t h e A cti n g Dir e ct or’ s g ui d a n c e e m pl o y e e s s h o ul d
            e x er ci s e a d mi ni str ati v e l e a v e u ntil ot h er wi s e i n str u ct e d. F or st aff w h o h a v e b e e n a s k e d t o
            w or k b y t h e A cti n g Dir e ct or, t h e C hi ef L e g al Of ﬁ c er, or a n ot h er d e si g n e e (i. e. t hr o u g h t h eir
            l e a d er s hi p c h ai n, et c.) t h e y s h o ul d r e c or d t h at ti m e a s t h e y n or m all y w o ul d. All ti m e n ot i n a
            w or ki n g st at u s s h o ul d b e r e ﬂ e ct e d i n w e b T A u n d er t h e “ A d mi n/ E x c u s e d A b s e n c e” l e a v e
            tr a n s a cti o n c at e g or y.

            Pl e a s e r ef er q u e sti o n s t o t h e C F P B _ W or k Lif e @ cf p b. g o v b o x s o t h e Of ﬁ c e of H u m a n
            C a pit al c a n pr o vi d e cl arif yi n g g ui d a n c e a s n e e d e d.

            V/ R

            R ol a n d J a c o b
            H u m a n C a pit al O p e r ati o n s M a n a g e r
            S y st e m s a n d O p e r ati o n s | Offi c e of H u m a n C a pit al
            Offi c e:                           | M o bil e:

            C o n s u m e r Fi n a n ci al P r ot e cti o n B u r e a u
            c o n s u m erfi n a n c e. g o v
            C o nfi d e nti alit y N oti c e: If y o u r e c ei v e d t hi s e m ail b y mi st a k e, y o u s h o ul d n otif y t h e s e n d e r of t h e mi st a k e a n d
            d el et e t h e e m ail a n d a n y att a c h m e nt s. A n i n a d v e rt e nt di s cl o s u r e i s n ot i nt e n d e d t o w ai v e a n y p ri vil e g e s.
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         E x hi bit K
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    Fr o m :
S u bj e ct: Pl e a s e R e a d: C F P B R e gi o n al Of ﬁ c e O p er ati n g St at u s ( W e e k of 2/ 1 7)
     D at e: F e br u ar y 1 7, 2 0 2 5 at 1: 2 1 P M
        To :




           ( T hi s m e s s a g e i s s e nt o n b e h alf of A d a m M a rti n e z, C hi ef O p e r ati n g Offi c e r, f o r
           C F P B R e gi o n al Offi c e St aff a n d C o nt r a ct o r s)

           D e a r C oll e a g u e s:

           T h e C F P B R e gi o n al Offi c e s will r e m ai n cl o s e d t hi s w e e k ( 2 / 1 7- 2 / 2 1). E m pl o y e e s
           a n d c o nt r a ct o r s a p p r o v e d t o w o r k s h o ul d d o s o r e m ot el y u nl e s s ot h e r wi s e
           i n st r u ct e d.

           T h a n k y o u.

           A da m

           A d a m M a rti n e z
           C hi ef O p e r ati n g Offi c e r




           c o n s u m erfi n a n c e. g o v

           C o nfi d e nti alit y N oti c e: If y o u r e c ei v e d t hi s e m ail b y mi st a k e, y o u s h o ul d n otif y t h e s e n d e r of
           t h e mi st a k e a n d d el et e t h e e m ail a n d a n y att a c h m e nt s. A n i n a d v e rt e nt di s cl o s u r e i s n ot
           i nt e n d e d t o w ai v e a n y p ri vil e g e s.
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          E x hi bit L
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        E x hi bit M
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F r o m:                S er vi c e D e s k ( C F P B)
S u bj e c t:           S er vi c e A d vi s or y: Virt u al D e s kt o p A c c e s s U n a v ail a bl e Aft er 2/ 2 8/ 2 0 2 5
D a t e:                W e d n e s d a y, F e br u ar y 2 6, 2 0 2 5 1 0: 1 4: 1 6 A M




W h at' s H a p p e ni n g ? T h e Cit ri x Vi rt u al D e s kt o p will b e u n a v ail a bl e aft e r F ri d a y,
F e b r u a r y 2 8, 2 0 2 5, at 1 1: 5 9 P M E S T. Y o u a r e r e c ei vi n g t hi s n otifi c ati o n b e c a u s e y o u
l o g g e d i nt o t h e Vi rt u al D e s kt o p i n t h e p a st 9 0 d a y s. A c c e s s t o t h e Vi rt u al D e s kt o p vi a
htt p s: / / w o r k. cf p b. g o v a n d htt p s: / / c sf. cf p b.l o c al will n o l o n g e r b e a v ail a bl e.

W h e n:        F ri d a y, F e b r u a r y 2 8, 2 0 2 5, at 1 1: 5 9 P M E S T

N e e d M o r e I nf o ? Pl e a s e r ef e r a n y q u e sti o n s o r c o n c e r n s r e g a r di n g t hi s e v e nt t o t h e
C F P B S e r vi c e a n d S u p p o rt P o rt al , t h e C F P B S e r vi c e D e s k at 2 0 2- 4 3 5- 7 7 7 7 ( e xt e r n al),
x 5 7 7 7 7 (i nt e r n al), o r e m ail S e r vi c e D e s k @ cf p b. g o v .
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          E x hi bit N
                Case 1:25-cv-00381-ABJ                                             Document 57-2                               Filed 03/04/25                           Page 35 of 108


    Fr o m : C F P B H R O p s C F P B H R O p s @ ﬁ s c al.tr e a s ur y. g o v
S u bj e ct: A ut o m ati c r e pl y: q u e sti o n r e s e p ar ati o n p a p er s
     D at e: F e br u ar y 2 7, 2 0 2 5 at 9: 2 7 A M
        To :

           W e ar e w or ki n g dili g e ntl y wit h t h e a g e n c y d uri n g t hi s tr a n siti o n t o pr o vi d e n e c e s s ar y d o c u m e nt s r el at e d t o y o ur r e c e nt or i m p e n di n g
           s e p ar ati o n.

           Pl e a s e pr o vi d e a p er s o n al e m ail a d dr e s s a n d u p d at e d m aili n g a d dr e s s t o e n s ur e ti m el y a n d eff e cti v e c o m m u ni c ati o n s.

           All s e p ar at e d e m pl o y e e s will b e r e c ei vi n g a c o p y of t h eir S F- 5 0, N oti c e of P er s o n n el A cti o n, a s w ell a s a s e p ar ati o n p a c k et wit h i nf or m ati o n
           r e g ar di n g u n e m pl o y m e nt, b e n e ﬁt s a n d l u m p s u m a n n u al l e a v e p a y m e nt, if a p pli c a bl e.

           E m pl o y e e s will h a v e a 3 1- d a y e xt e n si o n of t h eir h e alt h i n s ur a n c e fr o m t h e d at e of s e p ar ati o n pr o vi d e d b y y o ur h e alt h i n s ur a n c e c arri er at n o
           c o st t o y o u. D e nt al a n d Vi si o n b e n e ﬁt s will t er mi n at e u p o n t h e d at e of s e p ar ati o n.

           T h a n k y o u f or y o ur p ati e n c e.
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         E x hi bit O
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          E x hi bit P
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         E x hi bit Q
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    Fr o m : Br o w n, J a s o n ( C F P B)
S u bj e ct: u p d at e s
     D at e: F e br u ar y 2 8, 2 0 2 5 at 5: 1 1 P M
        To : _


           Hi All,

           I b eli e v e all of y o u h a v e r e c ei v e d t h e dir e cti o n fr o m t h e C O O t hr o u g h y o ur s e cti o n c hi ef s
           t h at w e ar e t o f ul ﬁll o ur st at ut or y o bli g ati o n s s u bj e ct t o t h e li mit ati o n s pr o vi d e d i n t h e
           F e br u ar y 8 e m ail fr o m A cti n g Dir e ct or V o u g ht. W e st o p p e d m o st of o ur st at ut or y w or k, I
           k n o w, n ot b e c a u s e of t h e F e br u ar y 8 e m ail, b ut b e c a u s e of t h e F e br u ar y 1 0 e m ail. I
           cl ari ﬁ e d t hi s p oi nt wit h t h e C O O.

           I i nt er pr et t h e dir e cti o n t o m e a n t h at w e s h o ul d r e s u m e c o n d u cti n g r e s e ar c h, a st at ut or y
           r e s p o n si bilit y. T hi s m e a n s a c c e s si n g t h e r e s e ar c h s er v er s, cl e a ni n g a n d a n al y zi n g d at a,
           a n d writi n g dr aft s a n d r e vi e wi n g r e s e ar c h. I w o ul d al s o i n cl u d e c orr e s p o n di n g wit h c o-
           a ut h or s a s a n e s s e nti al r e s e ar c h f u n cti o n.

           T hi s l e a v e s a n u m b er of q u e sti o n s, p arti c ul arl y wit h r e g ar d s t o e xt er n al e n g a g e m e nt.
           Q u e sti o n s a b o ut e xt er n al e n g a g e m e nt i n cl u d e 1) p o sti n g d at a t o t h e B ur e a u w e b sit e; 2)
           p u bli s hi n g B ur e a u r e s e ar c h a n d S D R; 3) att e n di n g o ut si d e e v e nt s, i n cl u di n g r e s e ar c h
           c o nf er e n c e s; 4) pr e s e nti n g at o ut si d e e v e nt s, i n cl u di n g r e s e ar c h c o nf er e n c e s. I n
           c o nj u n cti o n wit h t h e R M R F O, w e ar e s e e ki n g g ui d a n c e o n t h e s e q u e sti o n s. T h er e ar e
           s p e ci ﬁ c a cti viti e s I a m s e e ki n g i m m e di at e a p pr o v al f or:
                1. P u bli c ati o n of t h e C o n s u m er Cr e dit Tr e n d s a n d M ort g a g e P erf or m a n c e Tr e n d s
                2. P er mi s si o n f or F H F A t o ﬁ el d t h e N S M O
                3. H o u s e h ol d Fi n a n ci al St a bilit y p h o n e c all wit h t h e F e d er al R e s er v e S y st e m
                4. C o n s u m er Fi n a n c e R o u n d R o bi n
                5. B o ul d er C o nf er e n c e ( pr e s e nt er s o nl y)
           B e c a u s e w e h a v e n ot s o u g ht a p pr o v al f or a n yt hi n g y et, I w o ul d li k e t o h ol d of f f or t h e n e xt
           f e w d a y s o n s e e ki n g a p pr o v al t o p o st p a p er s o n S S R N or s u b mit n e w pi e c e s t o j o ur n al s. If
           y o u h a v e m at eri al s alr e a d y u n d er r e vi e w at j o ur n al s, I e n c o ur a g e y o u t o c o nti n u e w or ki n g
           a n d c orr e s p o n di n g wit h t h e e dit or s wit h t h e e x p e ct ati o n t h at o ur c urr e nt p o st ur e will h a v e
           c h a n g e d b y t h e ti m e p u bli c ati o n i s i m mi n e nt.

           I n ot h er n o n-r e s e ar c h r e s p o n si biliti e s ( e. g., r ul e m a ki n g s a n d e x a m w or k), t h er e i s s o m e
           c o n ﬂi cti n g g ui d a n c e a b o ut w h et h er w e s h o ul d m o v e f or w ar d or n ot. W e ar e a s ki n g a b o ut
           t h at.

           B ut t hi s l e a d s t o a n ot h er q u e sti o n: u n d er w h at c o n diti o n s s h o ul d s o m e o n e i n O R c o nti n u e
           t o t a k e a d mi ni str ati v e l e a v e, or d o w e t a k e t hi s dir e cti o n a s i n str u cti o n t o w or k f ull-ti m e o n
           r e s e ar c h a n d ot h er a p pr o v e d st at ut or y r e s p o n si biliti e s, u nl e s s t h er e i s n ot hi n g r e s e ar c h-
           r el at e d f or s o m e o n e t o d o ? H o w d o w e c o d e W e b T A at t h e e n d of t h e p a y p eri o d ? W e ar e
           al s o s e e ki n g g ui d a n c e o n t hi s.

           M a n y of y o u h a v e alr e a d y j u m p e d at t h e c h a n c e t o r e s u m e y o ur r e s e ar c h. Al a s, m a n y of
           y o u ar e ﬁ n di n g t h at t h e R e s e ar c h E n vir o n m e nt i s n ot f u n cti o ni n g a s b ef or e, i m p airi n g y o ur
           a bilit y t o f ul ﬁll o ur st at ut or y r e s e ar c h o bli g ati o n s. T h a n k y o u f or n oti n g t h e dif ﬁ c ulti e s y o u
           ar e e n c o u nt eri n g a n d p a s si n g t h e m o n t o y o ur s u p er vi s or. I h a v e l et t h e CI O a n d C O O
           k n o w t h at w e ar e e n c o u nt eri n g dif ﬁ c ulti e s i n r e s u mi n g o ur st at ut or y r e s e ar c h o bli g ati o n s
           b e c a u s e of t h e f u n cti o ni n g of t h e R e s e ar c h E n vir o n m e nt, t h at w e ar e c at al o g ui n g t h e
           dif ﬁ c ulti e s, a n d t h at w e will m e et wit h t h e m n e xt w e e k t o e x pl ai n o ur c h all e n g e s s o t h e y c a n
           h el p u s r e s ol v e t h e m.
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I k n o w t hi s l e a v e s a l ot of q u e sti o n s u n a n s w er e d, b ut I h o p e it gi v e s y o u a s e n s e of w h er e
w e ar e. Pl e a s e st a y i n c o m m u ni c ati o n wit h y o ur s u p er vi s or s o w e c a n tr y t o gi v e y o u t h e
dir e cti o n y o u n e e d.
J a s o n Br o w n
A s si st a nt Dir e ct or, R e s e ar c h
C o n s u m er Fi n a n ci al Pr ot e cti o n B ur e a u
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          E x hi bit R
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    Fr o m : M c N a m ar a, J o h n ( C F P B)
S u bj e ct: F W: St at ut or y/ L e g al R e q uir e d W or k
     D at e: F e br u ar y 2 8, 2 0 2 5 at 1 1: 2 0 A M
        To :


           S e e b el o w fr o m A d a m M arti n e z. T hi s i s f or y o ur a w ar e n e s s, a n d I a s k
           t h at y o u l et y o ur m a n a g er a n d m e k n o w of a n y st at ut oril y r e q uir e d
           w or k.

           W e h a v e d at a c oll e cti o n s a n d C A R D A ct f or o ur Cr e dit C ar d T e a m a n d
           t h e F D C P A A n n u al R e p ort f or o ur D e bt C oll e cti o n s T e a m.

           M or e br o a dl y w e h a v e m ar k et m o nit ori n g f or all M ar k et s t e a m s.

           I h a v e a n e m ail i n t o A d a m M arti n e z l etti n g hi m k n o w t h at I pl a n t o
           r e c o m m e n c e w or k o n all ar e a s. I al s o h a v e a q u e sti o n a b o ut w h at
           t y p e s of c o m m u ni c ati o n s M ar k P a ol ett a a n d D a ni el S h a pir o wi s h t o b e
           c o pi e d. I t ol d A d a m t h at I a s s u m e d t h e y w o ul d o nl y w a nt t o b e c o pi e d
           o n s u b st a nti v e m att er s a n d b e m a d e a w ar e of m e eti n g s M ar k et s w a s
           h a vi n g wit h e xt er n al st a k e h ol d er s.

           T hi s e m ail i s f or y o ur a w ar e n e s s.                  St a y t u n e d f or m or e g ui d a n c e.

           J o h n M c N a m ar a
           A s si st a nt Dir e ct or, C o n s u m er Cr e dit, P a y m e nt s, a n d D e p o sit s M ar k et s
           Di vi si o n of R e s e ar c h, M o nit ori n g & R e g ul ati o n s

           C o n s u m er Fi n a n ci al Pr ot e cti o n B ur e a u
           1 7 0 0 G Str e et N W
           W a s hi n gt o n, D C 2 0 5 5 2
           Of ﬁ c e
           M o bil e




           C o n ﬁ d e nti alit y N oti c e: If y o u r e c ei v e d t hi s e m ail b y mi st a k e, y o u s h o ul d n otif y t h e s e n d er of
           t h e mi st a k e a n d d el et e t h e e- m ail a n d a n y att a c h m e nt s. A n i n a d v ert e nt di s cl o s ur e i s n ot
           i nt e n d e d t o w ai v e a n y pri vil e g e s.




           Fr o m: M arti n e z, A d a m ( C F P B)
           S e nt: T h ur s d a y, F e br u ar y 2 7, 2 0 2 5 4: 1 8 P M
           T o: P a p p al ar d o, J a ni s ( C F P B) <                                          ; S o k ol o v, D a n ( C F P B)
                                                 ; E p st ei n, A n n ( C F P B)                                     ; H e d g e s p et h,
           Gr a d y ( C F P B)                                                ; Br o w n, J a s o n ( C F P B)
                                                    M c Ar dl e M ar k ( C F P B)                                            M c N a m ar a
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    Fr o m : M c N a m ar a, J o h n ( C F P B)
S u bj e ct: R E: St at ut oril y M a n d at e d W or k
     D at e: F e br u ar y 2 8, 2 0 2 5 at 2: 1 1 P M
        To :
        Cc :


           T h a n k s f or a s ki n g.                   W ait f or g ui d a n c e. I a m w aiti n g f or a r e s p o n s e fr o m
           A d a m M arti n e z.



           J o h n M c N a m ar a
           A s si st a nt Dir e ct or, C o n s u m er Cr e dit, P a y m e nt s, a n d D e p o sit s M ar k et s
           Di vi si o n of R e s e ar c h, M o nit ori n g & R e g ul ati o n s

           C o n s u m er Fi n a n ci al Pr ot e cti o n B ur e a u
           1 7 0 0 G Str e et N W
           W a s hi n gt o n, D C 2 0 5 5 2
           Of ﬁ c e-
           M o bil e-




           C o n ﬁ d e nti alit y N oti c e: If y o u r e c ei v e d t hi s e m ail b y mi st a k e, y o u s h o ul d n otif y t h e s e n d er of
           t h e mi st a k e a n d d el et e t h e e- m ail a n d a n y att a c h m e nt s. A n i n a d v ert e nt di s cl o s ur e i s n ot
           i nt e n d e d t o w ai v e a n y pri vil e g e s.




           Fr o m:
           S e nt: Fri d a y, F e br u ar y 2 8, 2 0 2 5 1: 5 4 P M
           T o: M c N a m ar a, J o h n ( C F P B)
           C c:
           S u bj e ct: R e: St at ut oril y M a n d at e d W or k

           T o cl arif y, s h o ul d I g et st art e d or w ait f or g ui d a n c e ?

           Fr o m: M c N a m ar a, J o h n ( C F P B) <
           S e nt: Fri d a y , F e br u ar y 2 8, 2 0 2 5 1 0: 5 7 A M
           To :
           C c:
           S u bj e ct: R E: St at ut oril y M a n d at e d W or k

           St a y t u n e d f or g ui d a n c e. A s I s e e it, t h e F D C P A A n n u al R e p ort i s
           st at ut oril y m a n d at e d w or k, a n d I w o ul d li k e t o g et st art e d o n it.
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           E x hi bit S
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          E x hi bit T
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          E x hi bit U
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    Fr o m : ( n ull)
S u bj e ct: F W: All H a n d s M e s s a g e r e: W or k R e q uir e d b y L a w
     D at e: M ar c h 4, 2 0 2 5 at 3: 5 2 P M
        To :


          Fr o m: S c hr o e d er, J o h n ( C F P B) <
          S e nt: M o n d a y, M ar c h 3, 2 0 2 5 1 0: 1 3 A M
          T o: _ D L _ C F P B _ E x a mi n er s Mi d w e st <                                                                                               >
          S u bj e ct: F W: All H a n d s M e s s a g e r e: Wor k R e q uir e d b y L a w

          C a s e y a n d C al vi n ar e s e e ki n g cl arit y fr o m n e w a g e n c y l e a d er s hi p r e t h e b el o w e m ail, a n d
          will p a s s al o n g dir e cti o n a s s o o n a s t h e y c a n r e c ei v e it. I n t h e m e a nti m e pl e a s e r efr ai n fr o m
          all w or k a cti vit y ot h er t h a n mi ni st eri al t a s k s a s pr e vi o u sl y a p pr o v e d b y A d a m M arti n e z.

          I a p ol o gi z e f or t h e c o nti n u e d c o nf u si o n b ei n g c a u s e d b y m ulti pl e mi sl e a di n g a n d
          i n c o n si st e nt e m ail. Pl e a s e st a n d b y f or a d diti o n al dir e cti o n fr o m S P V l e a d er s hi p. T h a n k
          y o u.


          J o h n J. S c h r o e d e r
          R e gi o n al Di r e ct o r – Mi d w e st R e gi o n
          S u p e r vi si o n, E nf o r c e m e nt a n d F ai r L e n di n g
          C o n s u m e r Fi n a n ci al P r ot e cti o n B u r e a u

          2 3 0 S o ut h D e a r b o r n St r e et, S uit e 1 5 9 0
          C hi c a g o, I L 6 0 6 0 4
          M o b:
          c o n s u m e r fi n a n c e. g o v
          C o n ﬁ d e nti alit y N oti c e: T h e i nf or m ati o n c o nt ai n e d i n t hi s tr a n s mitt al, i n cl u di n g att a c h m e nt s if a n y , m a y b e
          c o n ﬁ d e nti al or pri vil e g e d u n d er a p pli c a bl e l a w, or ot h er wi s e m a y b e pr ot e ct e d fr o m di s cl o s ur e t o a n y o n e ot h er
          t h a n t h e i nt e n d e d r e ci pi e nt( s). A n y r e vi e w, u s e, di stri b uti o n, or c o p yi n g of t h e c o nt e nt s of t hi s e- m ail or it s
          att a c h m e nt s b y a n y p er s o n ot h er t h a n t h e i nt e n d e d r e ci pi e nt f or a n y p ur p o s e ot h er t h a n it s i nt e n d e d u s e, i s
          stri ctl y pr o hi bit e d a n d m a y b e u nl a wf ul. T hi s c o m m u ni c ati o n i s n ot i nt e n d e d a s a w ai v er of t h e c o n ﬁ d e nti al,
          pri vil e g e d or e x e m pt e d st at u s of t h e i nf or m ati o n tr a n s mitt e d. If y o u h a v e r e c ei v e d t hi s e- m ail i n err or, y o u s h o ul d
          p er m a n e ntl y d el et e t h e e- m ail a n d a n y att a c h m e nt s. D o n ot s a v e, c o p y, di s cl o s e, or r el y o n a n y p art of t h e
          i nf or m ati o n c o nt ai n e d i n t hi s e- m ail or it s att a c h m e nt s. Al s o i m m e di at el y n otif y t h e s e n d er of t h e mi s dir e cti o n of
          t hi s tr a n s mitt al. Y o ur c o o p er ati o n i s a p pr e ci at e d.



          Fr o m: M arti n e z, A d a m ( C F P B)
          S e nt: S u n d a y, M ar c h 0 2, 2 0 2 5 3: 3 3 P M
          C c: P a ol ett a, M ar k ( C F P B)
          S u bj e ct: All H a n d s M e s s a g e r e: W or k R e q uir e d b y L a w

          M e s s a g e fr o m M ar k P a ol ett a, C hi ef L e g al Of ﬁ c er

          O n b e h alf of A cti n g Dir e ct or V o u g ht, I a m writi n g t o y o u t o e n s ur e t h at e v er y o n e i s c arr yi n g
          o ut a n y st at ut oril y r e q uir e d w or k, a s h e s et f ort h i n hi s F e br u ar y 8 t h e m ail.

          O n F e br u ar y 8, 2 0 2 5, y o u r e c ei v e d a n e m ail fr o m A cti n g Dir e ct or V o u g ht dir e cti n g y o u t o
          h alt s e v er al cl a s s e s of w or k u nl e s s “r e q uir e d b y l a w” or e x pr e s sl y a p pr o v e d b y t h e A cti n g
          Dir e ct or. O n F e br u ar y 1 0, 2 0 2 5, y o u r e c ei v e d a n e m ail fr o m A cti n g Dir e ct or V o u g ht
          dir e cti n g y o u t o r e a c h o ut t o m e f or t h e a ut h ori z ati o n r e q uir e d b y t h e F e br u ar y 8 e m ail.
          T h e s e m e a s ur e s w er e i nt e n d e d t o e n s ur e t h at n e w l e a d er s hi p c o ul d e st a bli s h o p er ati o n al
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c o ntr ol o v er t h e a g e n c y w hil e e n s uri n g t h at it w o ul d c o nti n u e t o f ul ﬁll it s st at ut or y d uti e s.
M a n y of y o u u n d er st o o d t hi s a n d c o nti n u e d t o p erf or m f u n cti o n s r e q uir e d b y l a w a n d
s o u g ht a p pr o v al fr o m m e t o p erf or m w or k, w hi c h I h a v e pr o m ptl y gr a nt e d.

It h a s c o m e t o m y att e nti o n, h o w e v er, t h at s o m e e m pl o y e e s h a v e n ot b e e n p erf or mi n g
st at ut oril y r e q uir e d w or k. L et m e b e cl e ar: E m pl o y e e s s h o ul d b e p erf or mi n g w or k t h at i s
r e q uir e d b y l a w a n d d o n ot n e e d t o s e e k pri or a p pr o v al t o d o s o. If y o u h a v e a n y q u e sti o n s,
pl e a s e r e a c h o ut t o m e i m m e di at el y, a n d I will pr o m ptl y gi v e y o u a n a n s w er a n d
a ut h ori z ati o n if w arr a nt e d. If y o u ar e a w ar e of ot h er e m pl o y e e s t h at ar e n e e d e d t o a s si st
y o u i n p erf or mi n g a st at ut oril y r e q uir e d t a s k b ut ar e n ot d oi n g s o, pl e a s e r ai s e t hi s wit h m e
i m m e di at el y.

T h a n k y o u f or y o ur att e nti o n t o t hi s m att er.

M ar k P a ol ett a
C hi ef L e g al Of ﬁ c er
CFPB


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          E x hi bit V
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Fr o m: S ell ers, K at el y n ( C F P B)
S e nt: M o n d a y, M ar c h 3, 2 0 2 5 8: 4 5 A M
T o:


S u bj e ct: F W: f oll o w- u p o n Qs a b o ut i nf or m al g ui d a n c e t o e ntiti e s

Hi T e a m,

F Y S A o n t h e n ot e b el o w t o C a s e y. I will l et y o u k n o w w h at I h e ar b a c k. I n t h e m e a nti m e, pl e a s e c o nti n u e t o
c o m pl y wit h t h e st o p w or k or d er a n d st a n d b y f or f urt h er i n str u cti o n fr o m m e r e g ar di n g w h et h er y o u s h o ul d e n g a g e
i n a n y I L S A or N M L S w or k. T h a n k y o u!

K at el y n

K at el y n S ell er s
Pr o gr a m Dir e ct or, S y st e m s & R e gi str ati o n s
Offi c e of S u p er vi si o n E x a mi n ati o n s
( m)


Fr o m: S ell ers, K at el y n ( C F P B)
S e nt: M o n d a y, M ar c h 3, 2 0 2 5 8: 4 2 A M
T o: H u g gi ns, C ass a n dr a ( C F P B)                                             >
S u bj e ct: R E: f oll o w- u p o n Qs a b o ut i nf or m al g ui d a n c e t o e ntiti es

Hi C a s e y,
P ur s u a nt t o A d a m M arti n e z’ s e m ail y e st er d a y, 3/ 2/ 2 5 r e g ar di n g p erf or mi n g st at ut oril y m a n d at e d w or k, I a m
r e s urf a ci n g t h e e m ail b el o w t o i n q uir e a s t o w h et h er w e e v er g ot a n y r e s p o n s e fr o m l e a d er s hi p. A s y o u k n o w, t h e
S E S it e m s b el o w ar e o nl y “ m a n d at e d ” t o t h e e xt e nt t h at e x a m s ar e b ei n g p erf or m e d a n d r e q uir e t e c h ni c al s u p p ort
a n d t o ol s. A n d I b eli e v e N B R w o ul d al s o b e i n t h e c at e g or y of “ s u p er vi si o n ” cl a s s of a cti viti e s t h at ar e u n d er t h e
st o p w or k or d er.

H o w e v er, t h e N M L S a n d I L S A it e m s ar e n ot r el at e d t o w h et h er e x a m s/ s u p er vi si o n a cti viti e s ar e o c c urri n g, a n d t h e y
ar e r e q uir e d b y st at ut e ( S e c ur e a n d F air E nf or c e m e nt f or M ort g a g e Li c e n si n g [ S A F E] A ct a n d I nt er st at e L a n d S al e s
Di s cl o s ur e A ct, r e s p e cti v el y).

M y t e a m i s st a n di n g b y a n d i s r e a d y t o r e s u m e mi ni m all y r e q uir e d w or k o n t h e s e pr o gr a m s if a ut h ori z e d. Pl e a s e
n ot e t h at a r o uti n e ( d ail y) p art of r u n ni n g t h e s e t w o pr o gr a m s r e q uir e s e xt er n al st a k e h ol d er e n g a g e m e nt ( wit h
r e gi str a nt s, C S B S/ N M L S, c o ntr a ct or s, et c.), a n d w e ar e u n s ur e w h et h er e a c h i n st a n c e of e xt er n al o utr e a c h w o ul d
n e e d t o b e a ut h ori z e d.

T h a n k y o u,
K at el y n

K at el y n S ell er s
Pr o gr a m Dir e ct or, S y st e m s & R e gi str ati o n s
Offi c e of S u p er vi si o n E x a mi n ati o n s
( m)

                                                                                     1
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Fr o m: S ell ers, K at el y n ( C F P B)
S e nt: W e d n es d a y, F e br u ar y 5, 2 0 2 5 4: 1 0 P M
T o: H u g gi ns, C ass a n dr a ( C F P B)                                            >
C c: Bl ei c k e n, D a vi d ( C F P B) <                                  >
S u b j e ct: F W: f oll o w- u p o n Qs a b o ut i nf or m al g ui d a n c e t o e ntiti e s

Hi C as e y ,

T his mi g ht b e m or e t h a n w as b ei n g as k e d f or, b ut t h e s yst e ms/ pr o gr a ms ar e s o m e w h at di ﬀ er e nt, s o I’ m br e a ki n g t h e
e x a m pl es o ut pr o gr a m b y pr o gr a m:

S u p er visi o n E x a mi n a o n S y st e m ( S E S)
       T h e m ost c o m m o n q u es o ns t h e S E S t e a m r e c ei v es fr o m e xt er n al p ar es ar e c e nt er e d ar o u n d t h e S u p er visi o n
            P ort al, w hi c h is t h e s e c ur e p ort al S u p er visi o n us es f or t h e E n es t o r es p o n d t o r e q u e sts fr o m t h e E x a m t e a ms.
            E x a m pl es:
                  o I f or g ot m y p ass w or d, c a n y o u r es et it ?
                  o I g ot a n e w p h o n e a n d t h e M F A n o l o n g er w or ks, c a n y o u ﬁ x it ?
                  o I a m h a vi n g tr o u bl e l o g gi n g i nt o t h e p ort al, c a n y o u h el p ?
       I m p a ct: If w e d o n ot a ns w er t h es e q u e s o ns/ pr o vi d e t his s u p p ort o v er e m ail, t h e E n t y us er w o ul d n ot b e a bl e
            t o l o g i nt o t h e C F P B S u p er visi o n P ort al a n d pr o vi d e i nf or m a o n t o t h e E x a m t e a ms, w hi c h w o ul d st o p e x a ms
            fr o m m o vi n g f or w ar d.

N o n b a n k R e gistr y ( N B R)
       E x a m pl e q u es o ns:
                   o I a m u n a bl e l o gi n t o m y N B R a c c o u nt (i. e., p ass w or d/ m ul -f a ct or a ut h e n c a o n ( M F A) err ors or I n e e d
                         c h a n g e m y e m ail a d dr ess). C a n C F P B h el p ?
                                If w e d o n’t r es p o n d, us er is n ot a bl e t o a c c ess t h eir N B R a c c o u nt a n d c a n n ot c o m pl y wit h t h e
                                     N B R r ul e (i. e. c a n n ot s u b mit or u p d at e t h eir r e q uir e d ﬁli n g)
                   o I e nt er e d a n i n c orr e ct v al u e i n t h e c o m p a n y’s i d e n f yi n g i nf or m a o n ( e. g., t y p o i n N M L S I D). C a n C F P B
                         c orr e ct it ?
                                If w e d o n’t r es p o n d, C o m p a n y’s u ni q u e i d e n f yi n g i nf or m a o n r e m ai ns i n c orr e ct i n t h e
                                     N o n b a n k R e gistr y a n d l e a ds t o d at a q u alit y iss u es i n C F P B us e of t h e i d e n f yi n g d at a t o s u p p ort
                                     t h e S u p er visi o n pr o gr a m.
                   o I c a n’t a c c ess m y c o m p a n y’s C F P B C o ns u m er R es p o ns e a c c o u nt, h o w d o I r e pl y t o a c o m pl ai nt I r e c ei v e d
                         fr o m t h e C F P B o n b e h alf of a c o ns u m er ?
                                If w e d o n’t r es p o n d, C o m p a n y r e pr es e nt a v e d o es n ot l e ar n t h e c orr e ct w a y t o r es p o n d t o a
                                     c o m pl ai nt, a n d t h eir c ust o m er w h o ori gi n all y s u b mi e d t h e c o m pl ai nt d o e s n ot g et a r es p o ns e
                                     t hr o u g h C F P B’s c o m pl ai nt s yst e m.
       H ol di n g s c h e d ul e d e xt er n al m e e n gs st yl e d as “ o ﬃ c e h o urs ” t o pr o vi d e g ui d a n c e a n d u p d at es f or N o n b a n k
             R e gistr y
                   o D uri n g t h e s e m e e n gs wit h st at e r e g ul at ors, st at e a or n e ys g e n er al, a n d Tri b al G o v er n m e nts, t h e N B R
                         t e a m pr o vi d es u p d at es o n N B R m etri cs ( e. g., n u m b er of r e gist er e d c o m p a ni es, n u m b er of r e gist er e d
                         or d ers), s oli cits i n p ut of “ d at a s h ari n g a n d d at a us e ” i d e as fr o m a e n d e es, a n d t al ks a b o ut st e ps t o w ar d
                         p ot e n al p u bli c a o n i n t h e f ut ur e.
                                If w e d o n’t h ol d t h es e m e e n gs, w or k m a y sl o w d o w n o n t h e i m pl e m e nt a o n of t h e N B R r ul e,
                                     i n cl u di n g p ot e n al p u bli c a o n.

I nt erst at e L a n d S al es A ct (I L S A)
E x a m pl e q u es o ns fr o m d e v el o p ers tr yi n g t o c o m pl y wit h I L S A/ R e g ul a o n J:
       I us u all y g et a n e m ail fr o m C F P B c o n ﬁr mi n g m y s u b missi o n (i. e., 1) r e gist er l ots t o s ell i n a n e w s u b di visi o n, 2)
            a d d l ots t o s ell i n a n e xis n g r e gist er e d s u b di visi o n, a n d/ or 3) a m e n d i nf or m a o n r e g ar di n g l ots t o s ell i n a n

                                                                                       2
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             e xis n g r e gist er e d s u b di visi o n) – di d C F P B r e c ei v e m y s u b missi o n a n d/ or is t h er e a n y a d di o n al i nf or m a o n I’ m
             r e q uir e d t o s u b mit ?
                   o If w e d o n’t r es p o n d, d e v el o p er m a y r e a c h o ut t o ot h er C F P B o ﬃ c es or p oli c al r e pr es e nt a v es b e c a us e
                         t h e y h a v e n ot r e c ei v e d c o m m u ni c a o n fr o m t h e C F P B I L S A o ﬃ c e.

            W h at is t h e I L S A # C F P B is assi g ni n g t o m y s u b di visi o n ?
                   o If w e d o n’t r es p o n d, t h e Pr o p ert y R e p ort m a y b e n o n c o m pli a nt wit h I L S A/ R e g ul a o n J a n d/ or t h e
                         p ur c h as er/ c o ns u m er d o es n ot r e c ei v e i nf or m a o n o n t h e Pr o p ert y R e p ort as r e q uir e d b y
                         I L S A/ R e g ul a o n J.

            W h at is t h e e ﬀ e c v e d at e of t h e Pr o p ert y R e p ort w e ar e r e q uir e d t o pr o vi d e t o p ur c h as ers s o t h at w e m a y s ell
             t h e l ots ?
                    o If w e d o n’t r es p o n d:
                                D e v el o p er m a y l os e i n c o m e b e c a us e t h e y ar e n ot s ur e if t h e y c a n l e g all y s ell t h e l ots i n t h e
                                    s u b di visi o n d u e t o p ot e n al n o n- c o m pli a n c e wit h t h e I L S A/ R e g ul a o n J.
                                P ur c h as ers m a y n ot r e c ei v e t h e Pr o p ert y R e p ort r e q uir e d b y t h e I L S A/ R e g ul a o n J or o n e t h at
                                    a p p e ars t o b e n o n c o m pli a nt; t his c o ul d r es ult i n a d e v el o p er b ei n g s u e d b y a p ur c h as er d u e t o
                                    t h e Pr o p ert y R e p ort n ot b ei n g pr o p erl y ﬁl e d wit h t h e C F P B.

N a o n wi d e M ul st at e Li c e nsi n g S yst e m a n d R e gistr y ( N M L S)
T o e ﬀ e c v el y o v ers e e t h e c o ntr a ct b et w e e n t h e C F P B a n d t h e N M L S’s St at e R e g ul at or y R e gistr y, L L C ( S R R), o ur o ﬃ c e h as
t a k e n a pr o a c v e a p pr o a c h t o c o m m u ni c a n g wit h t h e S R R d uri n g t h e B a c k gr o u n d I n v es g a o n Pr o c ess f or n e w a n d
r e n e w al of ~ 1 7 7 c o ntr a ct ors (i n a c o nst a nt st at e of o n b o ar di n g/ o o ar di n g). I n o ur e m ails, w e c o m m u ni c at e s u c h
t hi n gs as: c o n ﬁr m t h e r e c ei pt of a r e q u est of a b a c k gr o u n d c h e c k, as k f or m or e i nf or m a o n t o c o m pl et e a b a c k gr o u n d
c h e c k, pr o vi d e st at us u p d at es o n c ert ai n i n di vi d u als, c o n ﬁr m t e m p or ar y a ut h oriz a o n t o w or k, a n d c o n ﬁr m ﬁ n al
a p pr o v al of a p ers o n b ei n g t h or o u g hl y v e e d s o t h e y m a y c o n n u e w or k o n t h e s yst e m.
              If w e n o l o n g er c o m m u ni c at e t h e it e ms a b o v e:
                        o S R R’s o v er all a bilit y t o p erf or m u n d er its c o ntr a ct wit h C F P B c o ul d b e n e g a v el y i m p a ct e d.
                        o S R R m a y r e a c h o ut t o ot h er C F P B o ﬃ c es i n c o nf usi o n a n d/ or m a y c o m pl ai n t h at C F P B is n o l o n g er
                              pr o vi di n g i nf or m a o n o n t h e pr o c ess.
                        o S R R c o ul d b e u n a w ar e t h at i nf or m a o n is missi n g a n d t h e b a c k gr o u n d i n v es g a o n pr o c ess is
                              p a us e d/i n di vi d u als w o ul d b e a bl e t o w or k o n t h e s yst e m as n e e d e d b y C F P B
                        o I nf or m a o n r e q uir e d t o c o m pl et e t h e b a c k gr o u n d i n v es g a o n r e m ai ns i n c o m pl et e a n d/ or t h e
                              b a c k gr o u n d i n v es g a o n m a y m e o ut a n d r e q uir e r e-i ni a o n of pr o c ess.

K at el y n S ell er s
Pr o gr a m Dir e ct or, S y st e m s & R e gi str ati o n s
Offi c e of S u p er vi si o n E x a mi n ati o n s
( m)


Fr o m: H u g gi ns, C ass a n dr a ( C F P B)
S e nt: W e d n es d a y, F e br u ar y 5, 2 0 2 5 1 1: 2 5 A M
T o: S ell ers, K at el y n ( C F P B)                                      >; Bl ei c k e n, D a vi d ( C F P B)                                        >
S u bj e ct: f oll o w- u p o n Qs a b o ut i nf or m al g ui d a n c e t o e ntiti es
I m p ort a n c e: Hi g h

Hi K at el y n- W e h a d s u b mi e d t h e q u es o n t h e ot h er d a y a b o ut w h et h er w e c o ul d pr o vi d e c ert ai n t y p es of i nf or m al
g ui d a n c e t o e n es. L e g al is g oi n g t o r u n t his q u es o n u p t o t h e A c n g Dir e ct or, b ut w a nts s o m e e x a m pl es of t h e t y p es
of q u es o ns t h at t y p i c all y f all i nt o t h es e c at e g ori es a n d t h e i m p a ct if t h e B ur e a u d o es n ot r es p o n d t o it. W o ul d y o u/ y o ur
t e a m b e a bl e t o p ut t h at t o g et h er ? It’s a g ht t ur n- ar o u n d- w o ul d n e e d it b y t h e e n d of t o d a y.



                                                                                       3
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             A ns w eri n g q u es o ns fr o m s u p er vis e d e n es t o pr o vi d e us er s u p p ort f or S u p er visi o n E x a mi n a o n S yst e m,
              N o n b a n k R e gistr y, N a o n wi d e M ul st at e Li c e nsi n g S yst e m ( N M L S), a n d I nt erst at e L a n d S al es A ct (I L S A)
              pr o gr a ms
             H ol di n g s c h e d ul e d e xt er n al m e e n gs st yl e d as “ o ﬃ c e h o urs ” t o pr o vi d e g ui d a n c e a n d u p d at es f or N o n b a n k
              R e gistr y

T h a n ks,
C as e y


C a s s a n d r a H u g gi n s
P ri n ci p al D e p ut y A s si st a nt Di r e ct o r | S u p e r vi si o n P oli c y & O p e r ati o n s
M o bil e:

C o n s u m e r Fi n a n ci al P r ot e cti o n B u r e a u
c o n s u m erfi n a n c e. g o v



C o nfi d e nti alit y N oti c e: If y o u r e c ei v e d t hi s e m ail b y mi st a k e, y o u s h o ul d n otif y t h e s e n d e r of t h e mi st a k e a n d d el et e t h e e- m ail a n d a n y
att a c h m e nt s. A n i n a d v e rt e nt di s cl o s u r e i s n ot i nt e n d e d t o w ai v e a n y p ri vil e g e s.




                                                                                                    4
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        E x hi bit W
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                Case 1:25-cv-00381-ABJ                            Document 57-2              Filed 03/04/25               Page 64 of 108


Fr o m: M arti n e z, A d a m ( C F P B)
S e nt: S u n d a y, M ar c h 2, 2 0 2 5 3: 3 3 P M
C c: P a ol ett a, M ar k ( C F P B)
S u bj e ct: All H a n d s M e s s a g e r e: W or k R e q uir e d b y L a w



M e s s a g e fr o m M ar k P a ol ett a, C hi ef L e g al Offi c er



O n b e h alf of A cti n g Dir e ct or V o u g ht, I a m writi n g t o y o u t o e n s ur e t h at e v er y o n e i s c arr yi n g o ut a n y
st at ut oril y r e q uir e d w or k, a s h e s et f ort h i n hi s F e br u ar y 8 t h e m ail.


O n F e br u ar y 8, 2 0 2 5, y o u r e c ei v e d a n e m ail fr o m A cti n g Dir e ct or V o u g ht dir e cti n g y o u t o h alt s e v er al
cl a s s e s of w or k u nl e s s “r e q uir e d b y l a w” or e x pr e s sl y a p pr o v e d b y t h e A cti n g Dir e ct or. O n F e br u ar y 1 0,
2 0 2 5, y o u r e c ei v e d a n e m ail fr o m A cti n g Dir e ct or V o u g ht dir e cti n g y o u t o r e a c h o ut t o m e f or t h e
a ut h ori z ati o n r e q uir e d b y t h e F e br u ar y 8 e m ail. T h e s e m e a s ur e s w er e i nt e n d e d t o e n s ur e t h at n e w
l e a d er s hi p c o ul d e st a bli s h o p er ati o n al c o ntr ol o v er t h e a g e n c y w hil e e n s uri n g t h at it w o ul d c o nti n u e t o f ulfill
it s st at ut or y d uti e s. M a n y of y o u u n d er st o o d t hi s a n d c o nti n u e d t o p erf or m f u n cti o n s r e q uir e d b y l a w a n d
s o u g ht a p pr o v al fr o m m e t o p erf or m w or k, w hi c h I h a v e pr o m ptl y gr a nt e d.


It h a s c o m e t o m y att e nti o n, h o w e v er, t h at s o m e e m pl o y e e s h a v e n ot b e e n p erf or mi n g st at ut oril y r e q uir e d
w or k. L et m e b e cl e ar: E m pl o y e e s s h o ul d b e p erf or mi n g w or k t h at i s r e q uir e d b y l a w a n d d o n ot n e e d t o
s e e k pri or a p pr o v al t o d o s o. If y o u h a v e a n y q u e sti o n s, pl e a s e r e a c h o ut t o m e i m m e di at el y , a n d I will
pr o m ptl y gi v e y o u a n a n s w er a n d a ut h ori z ati o n if w arr a nt e d. If y o u ar e a w ar e of ot h er e m pl o y e e s t h at ar e
n e e d e d t o a s si st y o u i n p erf or mi n g a st at ut oril y r e q uir e d t a s k b ut ar e n ot d oi n g s o, pl e a s e r ai s e t hi s wit h m e
i m m e di at el y.


T h a n k y o u f or y o ur att e nti o n t o t hi s m att er .



M ar k P a ol ett a

C hi ef L e g al Offi c er

CFPB
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          E x hi bit X
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          E x hi bit Y
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    Fr o m : ( n ull)
S u bj e ct:
     D at e: M ar c h 4, 2 0 2 5 at 9: 5 7 A M
        To :


          Fr o m: Br o w n, J a s o n ( C F P B) <                                          >
          S e nt: M o n d a y, M ar c h 3, 2 0 2 5 6: 0 7 P M
          T o: _ D L _ C F P B _ O R <
          S u bj e ct: u p d at e s

          Hi O R,

          J u st w a nt e d t o gi v e y o u a st at u s u p d at e.

          J a n s u b mitt e d a pr o p o s al t o M ar k P a ol ett a o utli ni n g h o w R M R w o ul d c o m pl y wit h t h e
          dir e cti v e t o r e s u m e st at ut or y r e s p o n si biliti e s. S h e pr o p o s e d t h at:
                    R M R w o ul d bri n g n e arl y e v er y o n e b a c k t o w or k, b e c a u s e n e arl y all of R M R
                    e n g a g e s i n st at ut oril y r e q uir e d w or k. Gi v e n t h at r e s e ar c h r e s p o n si biliti e s ar e w ell
                    d o c u m e nt e d i n D o d d- Fr a n k a n d all of t h e r e s e ar c h w or k w e d o i s li n k e d t o f ul ﬁlli n g
                    D o d d- Fr a n k’ s r e q uir e m e nt s, t hi s w o ul d m e a n t h at a n y o n e w h o c o ul d s u p p ort t h e
                    r e s e ar c h f u n cti o n s of D o d d- Fr a n k s h o ul d r et ur n t o w or k. T hi s i s c o n si st e nt wit h
                    w h at I s h ar e d l a st Fri d a y.
                    C o m m u ni c ati o n s wit hi n t h e f e d er al g o v er n m e nt, wit h c o ntr a ct e d e ntiti e s, a n d wit hi n
                    t h e F e d er al R e s er v e s y st e m t h at h el p u s f ul ﬁll o ur st at ut or y r e s p o n si biliti e s will b e
                    pr e- a p pr o v e d a n d n ot r e q uir e i n v ol v e m e nt of t h e D F O.
                    E n g a g e m e nt wit h o ut si d e r e s e ar c h er s a n d ot h er p arti e s t o a d v a n c e t h e B ur e a u’ s
                    r e s e ar c h r e s p o n si biliti e s w o ul d r e s u m e. T hi s w o ul d i n cl u d e di s c u s si n g r e s e ar c h
                    ﬁ n di n g s i n m e eti n g s, w or k s h o p s, a n d c o nf er e n c e s wit h ot h er g o v er n m e nt a g e n ci e s,
                    pr e s e nti n g r e s e ar c h ﬁ n di n g s at a c a d e mi c c o nf er e n c e s, a n d att e n di n g r e s e ar c h
                    c o nf er e n c e s. S h e n ot e d t h at w e w o ul d f oll o w u s u al B ur e a u pr o c e d ur e s f or
                    a ut h ori zi n g a n d cl e ari n g a n y pr e s e nt ati o n s a n d c o nf er e n c e att e n d a n c e a n d w o ul d
                    i nf or m hi m a n d D a n S h a pir o pri or t o a n y pr e s e nt ati o n or att e n d a n c e at a n o n-
                    g o v er n m e nt al c o nf er e n c e.
                    R efr e s hi n g d at a o n t h e B ur e a u w e b sit e, s p e ci ﬁ c all y t h e C C T a n d M ort g a g e
                    P erf or m a n c e Tr e n d s, will c o nti n u e. W e will a w ait f urt h er g ui d a n c e o n B ur e a u-
                    h o st e d p u bli c ati o n s.
                    Di s s e mi n ati o n of r e s e ar c h ﬁ n di n g s t hr o u g h t h e S S R N p a g e a n d t hr o u g h a c a d e mi c
                    j o ur n al s w o ul d r e s u m e.

          J a n h a s n ot r e c ei v e d a r e s p o n s e y et. B ut I will p a s s it o n a s s o o n a s I g et it. I n t h e
          m e a nti m e, pl e a s e c o nti n u e ( or r e s u m e) f ul ﬁlli n g t h e n o n- p u bli c a s p e ct s of y o ur w or k t o
          t h e e xt e nt p o s si bl e.

          T h er e ar e q u e sti o n s o n ti m e c ar d s. W e e x p e ct f urt h er g ui d a n c e o n T h ur s d a y.

          I k n o w t h at a s w e ar e r e s u mi n g o ur w or k, w e ar e c o nfr o nti n g a f e w c h all e n g e s, i n cl u di n g:
                  L o s s of p er s o n n el. T h e ﬁri n g of m u c h of o ur st aff i m p a ct s o ur a bilit y t o c o m pl et e
                  a s si g n m e nt s a s pl a n n e d. W e ar e tr yi n g t o m a k e s ur e w e h a v e a c c e s s t o t h e ﬁl e s of
                  t h e st aff w h o h a v e l eft. T h e O R m a n a g e m e nt t e a m al s o will b e l o o ki n g t o r e a s si g n
                  st aff fr o m w or k str e a m s t h at h a v e st o p p e d. If y o u ﬁ n d y o u h a v e c a p a cit y, pl e a s e
                  al ert y o ur c hi ef. A n d if y o u n e e d a d diti o n al st aff s u p p ort f or y o ur pr oj e ct s, pl e a s e
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        al ert y o ur c hi ef.
        L o s s of I T r e s o ur c e s. S e v er al c o ntr a ct s t h at h a v e s u p p ort e d o ur w or k h a v e b e e n
        c a n c ell e d. W e h a v e s e e n s o m e i m p air m e nt i n o ur a bilit y t o d o o ur w or k, a n d i n
        s o m e c a s e s w e c a n’t t ell if t h e str u g gl e s w e’r e f a ci n g ar e b e c a u s e of c a n c ell e d
        c o ntr a ct s or glit c h e s, a n d t h e p e o pl e w h o w o ul d or di n aril y h el p u s o ut h a v e
        t h e m s el v e s b e e n t er mi n at e d. M a n y t h a n k s t o t h o s e w h o h a v e b e e n d o c u m e nti n g
        y o ur e x p eri e n c e s a n d s h ari n g w or k ar o u n d s. K at h a s b e e n r u n ni n g p oi nt o n t hi s.
        T h e CI O k n o w s w e’r e h a vi n g i s s u e s a n d o n c e w e g et a f ull pi ct ur e of t h e sit u ati o n
        a n d t h e e xt e nt t o w hi c h w e c a n n ot f ul ﬁll o ur r e s p o n si biliti e s, w e will s h ar e wit h hi m
        a n d w or k wit h hi m o n h o w t o ﬁ x it.
        L o s s of d at a. S e v er al of o ur d at a c o ntr a ct s h a v e b e e n c a n c ell e d. Al s o, b e c a u s e t h e
        I T s y st e m s h a v e b e e n i n ﬂ u x w hil e d at a w er e b ei n g mi gr at e d ( or e v e n j u st st or e d),
        t h er e i s s o m e q u e sti o n a s t o w h er e s o m e of t h e d at a a n d h o w t o a c c e s s t h e m.
        S h ai st a will b e w or ki n g wit h t h e d at a st e w ar d s of e a c h of o ur d at a a s s et s t o e n s ur e
        t h at t h e d at a ar e a c c e s si bl e a n d c o m pl et e.
        L o s s of ot h er t o ol s t o c o n d u ct r e s e ar c h. T h e s e i n cl u d e t h e q u alit ati v e r e s e ar c h er
        c o ntr a ct a n d t h e l a b c o ntr a ct s. W e’r e a s s e s si n g h o w t h e l o s s of t h e s e ot h er
        c o ntr a ct s aff e ct s o ur a bilit y t o f ul ﬁll o ur d uti e s.

T h a n k y o u f or y o ur p ati e n c e a n d c o o p er ati o n a s w e tr y t o s ort all t hi s o ut.

Fi n all y, I k n o w m a n y of y o u s u b mitt e d pr o mi si n g w or k t o t h e C o n s u m er Fi n a n c e R o u n d
R o bi n. B e c a u s e of t h e u n c ert ai nt y of o ur p arti ci p ati o n, t h e ot h er a g e n ci e s m o v e d f or w ar d
wit h o ut i n cl u di n g p a p er s t h at w er e a ut h or e d o nl y b y C F P B r e s e ar c h er s. A s s u mi n g w e g et
t h e g o- a h e a d t o c o nti n u e e n g a g e m e nt s li k e t h e R o u n d R o bi n, w e ar e w el c o m e t o
n o n et h el e s s att e n d. W e’r e l o o ki n g t o pl a n a n alt er n at e R o u n d R o bi n f or o ur s u b mi s si o n s
t h at di d n’t m a k e it o n t o t h e pr o gr a m.

Jason
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          E x hi bit Z
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D at e: M o n d a y, M ar c h 3, 2 0 2 5 at 1 0: 2 1 A M
T o:                                                                          C hil b ert, C hri st o p h er ( C F P B)
<
C c:                                                                        >, S c ott, A d a m ( C F P B)
                                 >
S u bj e ct: R E: All H a n d s M e s s a g e r e: W or k R e q uir e d b y L a w

Mi n u s A d a m a n d M ar k,

Iri n a pl e a s e c h e c k wit h St e v e o n c e h e c o m e s o nli n e pl e a s e l et m e k n o w if a n yt hi n g i s n e e d e d
fr o m I nfr a str u ct ur e or ot h er t e a m s t o a d dr e s s t h e i s s u e.

T h a n k s,


D e p ut y C hi ef I nf o r m ati o n Offi c e r | T e c h n ol o g y & I n n o v ati o n
M o bil e:

C o n s u m e r Fi n a n ci al P r ot e cti o n B u r e a u
c o n s u m e rfi n a n c e. g o v

C o nfi d e nti alit y N oti c e: If y o u r e c ei v e d t hi s e m ail b y mi st a k e, y o u s h o ul d n otif y t h e s e n d er of t h e mi st a k e a n d d el et e
t h e e- m ail a n d a n y att a c h m e nt s. A n i n a d v ert e nt di s cl o s ur e i s n ot i nt e n d e d t o w ai v e a n y pri vil e g e s.
Fr o m:                                                                       >
S e nt: M o n d a y, M ar c h 3, 2 0 2 5 1 0: 1 1 A M
T o: M arti n ez, A d a m ( C F P B)                                           >; C hil b ert, C hrist o p h er ( C F P B)
                                              >; M ali k, Irf a n ( C F P B)                                    >
C c: P a ol ett a, M ar k ( C F P B)                                       >; S a yr e, St e p h e n ( C F P B)
                                     >; S c ott, A d a m ( C F P B)                                      >
S u bj e ct: R e: All H a n ds M ess a g e r e: W or k R e q uir e d b y L a w

Will d o. T h a n k s.
C hri s a n d          ,
All of t h e c o ntr a ct or s ar e g o n e, a m I c orr e ct ?
T h e fir st i s s u e I s e e i s t h at E X T J e n ki n s i s r et ur ni n g 5 0 2. T h at i s w h er e t h e pi p eli n e s r u n. I
w o n d er if it b e c a u s e s o m e ot h er s er vi c e g ot s h ut d o w n. I l a c k a c c e s s pri vil e g e s.
w o ul d n e e d t o t a k e a l o o k t o s e e if w e c a n g et it b a c k u p a n d I c a n tr y t o t a k e it fr o m t h er e.
I d o n’t k n o w h o w t o r e a c h hi m t h o u g h, w o ul d n e e d                  t o r e a c h o ut w h e n h e i s b a c k o nli n e.


Fr o m: M arti n e z, A d a m ( C F P B)                                                                          >
D at e: M o n d a y, M ar c h 3, 2 0 2 5 at 1 0: 0 5 A M
T o:                                                                                                  >, C hil b ert, C hri st o p h er ( C F P B)
<                                            >,                                                                                           >
C c: P a ol ett a, M ar k ( C F P B) <                                                                  >,
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<                                      , S c ott, A d a m ( C F P B) <
S u bj e ct: R E: All H a n d s M e s s a g e r e: W or k R e q uir e d b y L a w

Hi        . Pl e a s e w o r k wit h C h ri s a n d                t o s hift a n y r e s o u r c e s n e e d e d t o c o m pl y
wit h t h e st at ut e a n d a n y a p pli c a bl e l a w s / r e g ul ati o n s. T h a n k y o u.

A d a m M a rti n e z
C hi ef O p e r ati n g Offi c e r

Fr o m:
S e nt: M o n d a y, M ar c h 3, 2 0 2 5 1 0: 0 2 A M
T o: M arti n ez, A d a m ( C F P B) <
C c: P a ol ett a, M ar k ( C F P B) <                                                              )
<                                    >; S c ott, A d a m ( C F P B) <                          >
S u bj e ct: R e: All H a n ds M ess a g e r e: W or k R e q uir e d b y L a w


Hi A d a m,
B a s e d o n e v er y e m ail st arti n g 2/ 1 0 t h e u n a m bi g u o u s g ui d a n c e w a s t o st o p all w or k
t a s k s, n o sti p ul ati o n of st at u e r e q uir e m e nt s w a s m a d e.

A s of t o d a y, C o n s u m er C o m pl ai nt D at a b a s e( C C D B) h a s n ot h a d b e e n r efr e s h e d wit h
n e w d at a si n c e 0 2/ 2 2/ 2 0 2 5 a n d di s pl a y s a n er or b a n n er:
htt p s:// w w w. c o n s u m erfi n a n c e. g o v/ d at a-r e s e ar c h/ c o n s u m er- c o m pl ai nt s/ s e ar c h/ ?
c h art T y p e =li n e & d at eI nt er v al = M o nt h & d at e R a n g e = 3 y & d at e r e c ei v e d m a x = 2 0 2 5- 0 2-
2 1 & d at e _r e c ei v e d _ mi n = 2 0 2 2- 0 2-
2 1 &l e n s = Pr o d u ct & s e ar c h Fi el d = all & s u b L e n s = s u b pr o d u ct &t a b = Tr e n d s

D o d d Fr a n k m a n d at e s:
T h e C o n s u m er Fi n a n ci al Pr ot e cti o n B ur e a u ( C F P B) t o m ai nt ai n a p u bli c d at a b a s e
w h er e c o n s u m er c o m pl ai nt s a g ai n st fi n a n ci al i n stit uti o n s ar e r e c or d e d a n d
p u bli s h e d, e n s uri n g tr a n s p ar e n c y i n t h e fi n a n ci al m ar k et pl a c e; t hi s d at a b a s e i s
c o m m o nl y r ef err e d t o a s t h e " C F P B C o n s u m er C o m pl ai nt D at a b a s e ”.


I a m s e e ki n g a ut h ori z ati o n t o fi x u n d erl yi n g i s s u e wit h d at a pi p eli n e s w hi c h
l o a d d at a f or C C D B. Si n c e t h e D at a Pr o d u ct s t e a m l o st all ot h er d e v el o p er s
w h e n all c o ntr a ct s w er e c a n c el e d, I a m al s o s e e ki n g a ut h ori z ati o n t o utili z e
ot h er m e m b er of D & D a n d E D A t o a s si st a s n e e d e d.

T h a n k s f or y o ur pr o m pt att e nti o n,
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Fr o m: M arti n e z, A d a m ( C F P B) < A d a m. M arti n e z @ cf p b. g o v >
D at e: S u n d a y, M ar c h 2, 2 0 2 5 at 3: 3 3 P M
T o:
C c: P a ol ett a, M ar k ( C F P B) <
S u bj e ct: All H a n d s M e s s a g e r e: W or k R e q uir e d b y L a w

M e s s a g e fr o m M ar k P a ol ett a, C hi ef L e g al Offi c er

O n b e h alf of A cti n g Dir e ct or V o u g ht, I a m writi n g t o y o u t o e n s ur e t h at e v er y o n e i s c arr yi n g o ut
a n y st at ut oril y r e q uir e d w or k, a s h e s et f ort h i n hi s F e br u ar y 8 t h e m ail.

O n F e br u ar y 8, 2 0 2 5, y o u r e c ei v e d a n e m ail fr o m A cti n g Dir e ct or V o u g ht dir e cti n g y o u t o h alt
s e v er al cl a s s e s of w or k u nl e s s “r e q uir e d b y l a w ” or e x pr e s sl y a p pr o v e d b y t h e A cti n g Dir e ct or.
O n F e br u ar y 1 0, 2 0 2 5, y o u r e c ei v e d a n e m ail fr o m A cti n g Dir e ct or V o u g ht dir e cti n g y o u t o
r e a c h o ut t o m e f or t h e a ut h ori z ati o n r e q uir e d b y t h e F e br u ar y 8 e m ail. T h e s e m e a s ur e s w er e
i nt e n d e d t o e n s ur e t h at n e w l e a d er s hi p c o ul d e st a bli s h o p er ati o n al c o ntr ol o v er t h e a g e n c y
w hil e e n s uri n g t h at it w o ul d c o nti n u e t o f ulfill it s st at ut or y d uti e s. M a n y of y o u u n d er st o o d t hi s
a n d c o nti n u e d t o p erf or m f u n cti o n s r e q uir e d b y l a w a n d s o u g ht a p pr o v al fr o m m e t o p erf or m
w or k, w hi c h I h a v e pr o m ptl y gr a nt e d.

It h a s c o m e t o m y att e nti o n, h o w e v er, t h at s o m e e m pl o y e e s h a v e n ot b e e n p erf or mi n g
st at ut oril y r e q uir e d w or k. L et m e b e cl e ar: E m pl o y e e s s h o ul d b e p erf or mi n g w or k t h at i s
r e q uir e d b y l a w a n d d o n ot n e e d t o s e e k pri or a p pr o v al t o d o s o. If y o u h a v e a n y q u e sti o n s,
pl e a s e r e a c h o ut t o m e i m m e di at el y, a n d I will pr o m ptl y gi v e y o u a n a n s w er a n d a ut h ori z ati o n
if w arr a nt e d. If y o u ar e a w ar e of ot h er e m pl o y e e s t h at ar e n e e d e d t o a s si st y o u i n p erf or mi n g a
st at ut oril y r e q uir e d t a s k b ut ar e n ot d oi n g s o, pl e a s e r ai s e t hi s wit h m e i m m e di at el y.

T h a n k y o u f or y o ur att e nti o n t o t hi s m att er.

M ar k P a ol ett a
C hi ef L e g al Offi c er
CFP B
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      E x hi bit A A
                                                                    Case 1:25-cv-00381-ABJ                                               Document 57-2                             Filed 03/04/25                           Page 76 of 108




Fr o m: L e e, S c ott ( C F P B) <
S e nt: M o n d a y, M ar c h 3, 2 0 2 5 1: 5 2 P M
T o: C h a n g, J e a n ( C F P B)                                     >; C hil b ert, C hri st o p h er ( C F P B) <                                                   >; E s s e n e, R e n ( C F P B) <                                      >; G u e y e, J af n ar ( C F P B)
M arti n e z, A d a m ( C F P B) < A                                      >; Mi c h al o s k y, M arti n ( C F P B)                                                  >
C c: J a c o b, R ol a n d ( C F P B)                                       >; Di P al m a, Ni k ki ( C F P B)                                               ; S wit z er, Kri sti n ( C F P B)                                              J a m e s, D a n a ( C F P B)                                         G ali c ki,
J o s h u a ( C F P B)                                         ; N g u y e n, H o a n ( C F P B) <                                          >; A u sti n, Ri c h ar d ( C F P B)                                                R ot h, M ari a n n e ( C F P B) <
S u bj e ct: O p er ati o n s: St at ut or y R e q uir e m e nt s



Hi all,



W e h a v e s o m e u p d at e d g ui d a n c e o n a f e w it e m s:

      1. M a n d at e d R e p ort s: A d a m h a s a p pr o v e d ( s e e att a c h e d) t o w or k o n all r e p ort s t h at f ulfill a l e g al r e q uir e m e nt. S e e b el o w f or a li st of r e p ort s d u e t hr o u g h J u n e. Pl e a s e h a v e y o ur t e a m s r e st art w or k o n t h e s e it e m s
         t hr o u g h t h e n or m al dr afti n g, r e vi e w wit h st a k e h ol d er s, a n d cl e ar a n c e ( O p s F O a n d E x e c. S e c.). If t h er e ar e it e m s mi s si n g fr o m thi s li st, pl e a s e l et m e k n o w.
      2. St at ut or y R e q uir e m e nt s: N e w g ui d a n c e i s i n str u cti n g u s t o w or k o n all st at ut or y r e q uir e m e nt s f or t h e B ur e a u. O ur O p s w or k ti e s t o t hi s w or k ( dir e ctl y a n d i n dir e ctl y). W e ar e w or ki n g ( wit h L e g al) t o d e v el o p a
         fr a m e w or k o n w h at i s r e q uir e d a n d h o w O p s w or k i s i m pli c at e d.



W e k n o w t h er e’ s m a n y q u e sti o n s ar o u n d t hi s – s o w e’r e g oi n g t o s c h e d ul e a c o u pl e of m e eti n g s t o e n s ur e w e’r e all ali g n e d o n t hi s.



S c ott




       O F FI C E                 R E P O R T/ P U B LI C A TI O N TI T L E                       D E S C RI P TI O N A N D A C TI O N( S)                                 L E G A L R E Q UI R E M E N T                          R E C EI VI N G                         F Y25                      D U E D AT E
      O R TE A M                                                                                                 R E Q UI R E D                                                                                                    O R G A NI Z A TI O N             P U B LI C A TI O N           S T A T U T O RI L Y
                                                                                                                                                                                                                                                                      D U E D A T E( S)              R E Q UI R E D


      O F P/ C F O           A n n u al P erf or m a n c e Pl a n a n d R e p ort,          T h e r e p ort d e s cri b e s t h e r e s o ur c e s            D o d d- Fr a n k § 1 0 1 7( a)( 4)( A) - Dir e ct or                F RB                                  2/ 1 5/ 2 0 2 5                     N
                             a n d B u d g et O v er vi e w ( M a n a g e d b y             n e e d e d t o a c c o m pli s h o ur g o al s a n d             s h all pr o vi d e t o t h e Dir e ct or of t h e Offi c e          O MB
                             O S P P)                                                       m e a s ur e o ur p erf or m a n c e a g ai n st o ur             of M a n a g e m e nt a n d B u d g et c o pi e s of t h e           C o n gr e s s
                                                                                            str at e gi c pl a n. Str at e g y o w n s t hi s                 fi n a n ci al o p er ati n g pl a n s a n d f or e c a st s of
                                                                                            d o c u m e nt. T h e d o c u m e nt al s o i n cl u d e s        t h e Dir e ct or, a s pr e p ar e d b y t h e Dir e ct or
                                                                                            a b u d g et s e cti o n w hi c h t h e O C F O i s               i n t h e or di n ar y c o ur s e of t h e o p er ati o n s of
                                                                                            r e s p o n si bl e f or. B u d g et s e cti o n f ulfill s       t h e B ur e a u. S. 1 0 1 6 al s o r e q uir e s t h at a
                                                                                            st at ut or y r e q uir e m e nt of 1 0 1 7( a)( 4)( A)           j u stifi c ati o n of t h e b u d g et r e q u e st of t h e
                                                                                            fi n a n ci al o p er ati n g pl a n s a n d f or e c a st s.     pr e vi o u s y e ar b e pr o vi d e d wit h t h e
                                                                                                                                                              s e mi a n n u al r e p ort t o C o n gr e s s. ( N ot e:
                                                                                                                                                              t h er e m a y b e ot h er r e q uir e m e nt s t h at
                                                                                                                                                              g o v er n t h e p u bli c ati o n of str at e gi c pl a n s
                                                                                                                                                              a n d p erf or m a n c e i nf or m ati o n)

      O F P/ C F O           D A T A A ct                                                   S u b mi s si o n of r e c o n cili ati o n s of fi n a n ci al   P u bli c L a w 1 1 3- 1 0 1, d at e d M a y 9, 2 0 1 4              U S A s p e n di n g. g o v           2/ 1 5/ 2 0 2 5                     N
                                                                                                                                                                            ffi i i i “ Di i
                                                            Case 1:25-cv-00381-ABJ
                                                                     a n d pr o c ur e m e nt d at a t h at s uDocument
                                                                                                               p p ort s a n 57-2
                                                                                                                             d t h e offi ci al Filed
                                                                                                                                                titl e i s “ Di03/04/25
                                                                                                                                                                git al                                         Page 77 of 108
                                                                              U S A S p e n di n g. g o v                                      A c c o u nt a bilit y a n d Tr a n s p ar e n c y A ct of
                                                                                                                                               2 0 1 4”


 O F P/ C F O    GTAS                                                         S u b mi s si o n of m o nt hl y fi n a n ci al a n d            C h a pt er 4 7 0 0 of t h e T F M e ntitl e d “ A g e n c y      O MB                          2/ 1 8/ 2 0 2 5   N
                                                                              b u d g et e x e c uti o n d at a; f ulfill st at ut or y        R e p orti n g R e q uir e m e nt s f or t h e Fi n a n ci al     Tr e a s ur y
                                                                              r e q uir e m e nt of 1 0 1 7( a)( 4)( A) q u art erl y          R e p ort of t h e U nit e d St at e s G o v er n m e nt”
                                                                              r e p ort s of fi n a n ci al c o n diti o n a n d r e s ult s
                                                                              of o p er ati o n s



    C R O        G A O-I G A ct R e p orti n g                                A n n u al r e p ort of e xt er n al fi n di n g s fr o m        G o o d A c c o u nti n g O bli g ati o n i n                     C o n gr e s s                2/ 2 8/ 2 0 2 5   N
                                                                              G A O a n d OI G                                                 G o v er n m e nt A ct ( G A O-I G A ct) ( P u bli c              GA O
                                                                                                                                               L a w 1 1 5- 4 1 4)                                               OI G



 O F P/ C F O    Q u art erl y Fi n a n ci al R e p ort s ( C F O             B u d g et e x e c uti o n b y B u d g et C at e g or y,         D o d d- Fr a n k § 1 0 1 7 ?                                     P u bli c ( p u bli s h e d   2/ 2 8/ 2 0 2 5   N
                 U p d at e s)                                                Di vi si o n, a n d l ar g e st o bli g ati o n s f or e a c h                                                                         o n cf p b. g o v )
                                                                              q u art er.



O F P/ P R O C   S er vi c e C o ntr a ct I n v e nt or y                     Pr e s e nt s a n a n al y si s o n C F P B' s s er vi c e       F Y 2 0 1 0 C o n s oli d at e d A p pr o pri ati o n s A ct-     O M B, M A X. G O V           2/ 2 8/ 2 0 2 5   Y
                                                                              c o ntr a ct i n v e nt or y t o d et er mi n e if               P u bli c L a w 1 1 1- 1 1 7 O M B m e m o, D at e d
                                                                              c o ntr a ct l a b or i s u s e d a p pr o pri at el y a n d     D e c 1 9, 2 0 1 1
                                                                              t h e mi x of F e d er al e m pl o y e e s a n d
                                                                              c o ntr a ct or s i s b al a n c e d.


 O F P/ C F O    A n n u al I n d e p e n d e nt P erf or m a n c e A u dit   A n n u al i n d e p e n d e nt a u dit of t h e                 12 U S C § 5496a                                                  P u bli c ( p u bli s h e d   2/ 2 8/ 2 0 2 5   N
                                                                               o p er ati o n s a n d b u d g et of t h e B ur e a u.                                                                            o n cf p b. g o v )
                                                                               T h e p ur p o s e of t hi s a u dit i s t o pr o vi d e
                                                                               o bj e cti v e a n al y s e s t o i m pr o v e pr o gr a m
                                                                               p erf or m a n c e a n d o p er ati o n s, r e d u c e
                                                                               c o st s, f a cilit at e d e ci si o n- m a ki n g, a n d
                                                                               c o ntri b ut e t o p u bli c a c c o u nt a bilit y


 O F P/ C F O    Q u art erl y Fi n a n ci al R e p ort s ( C F O             B u d g et e x e c uti o n b y B u d g et C at e g or y,         D o d d- Fr a n k § 1 0 1 7 ?                                     P u bli c ( p u bli s h e d   2/ 2 8/ 2 0 2 5   N
                 U p d at e s)                                                Di vi si o n, a n d l ar g e st o bli g ati o n s f or e a c h                                                                     o n cf p b. g o v )
                                                                              q u art er.




 O F P/ C F O    Q u art erl y Fi n a n ci al R e p ort s ( C F O             B u d g et e x e c uti o n b y B u d g et C at e g or y,         D o d d- Fr a n k § 1 0 1 7 ?                                     P u bli c ( p u bli s h e d   2/ 2 8/ 2 0 2 5   N
                 U p d at e s)                                                Di vi si o n, a n d l ar g e st o bli g ati o n s f or e a c h                                                                     o n cf p b. g o v )
                                                                              q u art er.


   O C D O       F e d er al El e ctr o ni c R e c or d s a n d E m ail       R e p ort t o d et er mi n e h o w f e d er al                   T h e F e d er al R e c or d s A ct ( 4 4 U. S. C. 3 1)           NA RA                         3/ 1 5/ 2 0 2 5   N
                 M a n a g e m e nt M at urit y M o d el R e p ort            a g e n ci e s m a n a g e el e ctr o ni c r e c or d s.




A d mi n O p s   R e c or d s M a n a g e m e nt S elf-                       T h e g o al of t h e s elf a s s e s s m e nt i s t o           T h e F e d er al R e c or d s A ct ( 4 4 U. S. C. 3 1)           NA RA                         3/ 1 5/ 2 0 2 5   N
                 A s s e s s m e nt                                           d et er mi n e w h et h er f e d er al a g e n ci e s ar e
                                                                              c o m pli a nt wit h st at ut or y a n d r e g ul at or y
                                                                              r e c or d s m a n a g e m e nt r e q uir e m e nt s.
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A d mi n O p s   S e ni or A g e n c y Offi ci al of R e c or d s           R e p ort d o c u m e nt s h o w t h e B ur e a u i s            T h e F e d er al R e c or d s A ct ( 4 4 U. S. C. 3 1)           NA RA                3/ 1 5/ 2 0 2 5   N
                 M a n a g e m e nt R e p ort                               m a n a gi n g RI M a cti viti e s a n d g o al s
                                                                            e st a bli s h e d b y N A R A




O F P/ C F O     GTAS                                                       S u b mi s si o n of m o nt hl y fi n a n ci al a n d            C h a pt er 4 7 0 0 of t h e T F M e ntitl e d “ A g e n c y      O MB                 3/ 1 8/ 2 0 2 5   N
                                                                            b u d g et e x e c uti o n d at a; f ulfill st at ut or y        R e p orti n g R e q uir e m e nt s f or t h e Fi n a n ci al     Tr e a s ur y
                                                                            r e q uir e m e nt of 1 0 1 7( a)( 4)( A) q u art erl y          R e p ort of t h e U nit e d St at e s G o v er n m e nt”
                                                                            r e p ort s of fi n a n ci al c o n diti o n a n d r e s ult s
                                                                            of o p er ati o n s



O F P/ C F O     Q u art erl y Tr a n sf er R e q u e st s                  L ett er s r e q u e sti n g tr a n sf er of f u n d s fr o m    D o d d- Fr a n k § 1 0 1 7( a)( 1)                               F RB                 3/ 2 0/ 2 0 2 5   N
                                                                            t h e F e d R e s er v e t o C F P B                                                                                               C o n gr e s s




    C R O        OI G S e mi a n n u al R e p ort                           OI G F e d er al R e s er v e pr o vi d e s                      P. L. 9 5- 4 5 2                                                  HF S C and B H U A   3/ 3 1/ 2 0 2 5   Y
                                                                            s e mi n a n n u al r e p ort of si g ni gi c a nt
                                                                            a cti viti e s, fi n d s, a n d r e c o m m e n d ati o n s
                                                                            d uri n g a si x m o nt h p eri o d.


    O H C        Fi n a n ci al Lit er a c y a n d E d u c ati o n Pl a n   O P M r e q uir e s a g e n c y b e n efit s                     T hrift S a vi n g s Pl a n O p e n El e cti o n s A ct of        OP M                 3/ 3 1/ 2 0 2 5   N
                 (f or B ur e a u E m pl o y e e s)                         r e pr e s e nt ati v e s t o s u b mit a n a n n u al           2 0 0 4 ( P u bli c L a w 1 0 8- 4 6 9)
                                                                            fi n a n ci al lit er a c y a n d e d u c ati o n pl a n f or
                                                                            a g e n c y e m pl o y e e s.




    O H C        St u d e nt L o a n R e p a y m e nt I n c e nti v e s     A g e n ci e s m u st s u b mit a n a n n u al writt e n         5 U. S. C. 5 3 7 9( h)( 1) a n d 5 C F R                          OP M                 3/ 3 1/ 2 0 2 5   Y
                                                                            r e p ort t o t h e U. S. Offi c e of P er s o n n el            5 3 7. 1 1 0( b)
                                                                            M a n a g e m e nt ( O P M) o n t h eir u s e of
                                                                            st u d e nt l o a n r e p a y m e nt s d uri n g t h e
                                                                            pr e vi o u s c al e n d ar y e ar ( C Y), a s
                                                                            r e q uir e d b y 5 U. S. C. 5 3 7 9( h).



  O C D O        C hi ef F OI A Offi c er R e p ort                         I n a c c or d a n c e wit h t h e F OI A, e a c h               T h e Fr e e d o m of I nf or m ati o n A ct ( F OI A), 5         D OJ                 3/ 3 1/ 2 0 2 5   Y
                                                                            a g e n c y C hi ef F OI A Offi c er m u st “r e vi e w          U. S. C § 5 5 2(j)( 2)( D).
                                                                            a n d r e p ort t o t h e Att or n e y G e n er al,
                                                                            t hr o u g h t h e h e a d of t h e a g e n c y, at s u c h
                                                                            ti m e s a n d i n s u c h f or m at s a s t h e
                                                                            Att or n e y G e n er al m a y dir e ct, o n t h e
                                                                            a g e n c y’ s p erf or m a n c e i n i m pl e m e nti n g
                                                                            [t h e F OI A].


    O H C        A n n u al D at a C all f or P at h w a y s                U n d er S e cti o n 6 of E x e c uti v e Or d er                5 C F R 3 6 2. 1 0 9                                              OP M                  4/ 1/ 2 0 2 5    Y
                 Pr o gr a m s a n d E arl y C ar e er T al e nt            1 4 0 3 5: Di v er sit y, E q uit y, I n cl u si o n, a n d
                 Hiri n g R e p orti n g                                    A c c e s si bilit y i n t h e F e d er al W or kf or c e,
                                                                            t h e Bi d e n- H arri s A d mi ni str ati o n dir e ct s
                                                            Case 1:25-cv-00381-ABJ                                  Document 57-2
                                                                     a g e n ci e s t o i n cr e a s e a v ail a bilit y of p ai d
                                                                                                                                                                        Filed 03/04/25                             Page 79 of 108
                                                                              i nt er n s hi p s, f ell o w s hi p s, a p pr e nti c e s hi p s,
                                                                              a n d ot h er e arl y c ar e er pr o gr a m s.


    O H C         T el e w or k D at a C all                                  P arti ci p ati o n i n t hi s a n n u al s ur v e y i s a           T el e w or k E n h a n c e m e nt A ct of 2 0 1 0,               OP M                                            N
                                                                              r e q uir e m e nt u n d er t h e T el e w or k                      P u bli c L a w 1 1 1- 2 9 2
                                                                              E n h a n c e m e nt A ct of 2 0 1 0, P u bli c L a w
                                                                              1 1 1- 2 9 2 (t h e A ct a n d i s r e p ort e d b y O P M                                                                                                           4/ 1 0/ 2 0 2 5
                                                                              t o C o n gr e s s. T h e q u e sti o n s i n t hi s
                                                                              s ur v e y a s k f or i nf or m ati o n a b o ut
                                                                              a g e n ci e s’ t el e w or k pr o gr a m.


O F P/ C F O      GTAS                                                        S u b mi s si o n of m o nt hl y fi n a n ci al a n d                C h a pt er 4 7 0 0 of t h e T F M e ntitl e d “ A g e n c y      O MB                          4/ 1 8/ 2 0 2 5   N
                                                                              b u d g et e x e c uti o n d at a; f ulfill st at ut or y            R e p orti n g R e q uir e m e nt s f or t h e Fi n a n ci al     T r e a s ur y
                                                                              r e q uir e m e nt of 1 0 1 7( a)( 4)( A) q u art erl y              R e p ort of t h e U nit e d St at e s G o v er n m e nt”
                                                                              r e p ort s of fi n a n ci al c o n diti o n a n d r e s ult s
                                                                              of o p er ati o n s


     T &I         Fi s c al Y e ar 2 0 X X- 2 0 X X G ui d a n c e o n        F Y X X Q 1 - Q 3 R e p orti n g vi a                                F Y 2 4 FI S M A G ui d a n c e i s n ot y et r el e a s e d.               D HS                4/ 1 8/ 2 0 2 5   Y
                  F e d er al I nf or m ati o n S e c urit y a n d            C y b er s c o p e.                                                                                                                              O MB
                  Pri v a c y M a n a g e m e nt R e q uir e m e nt s -                                                                            O M B M- 2 3- 0 3 - F Y 2 3 ( M E M O R A N D U M
                  E O 1 4 0 2 8 M etri c s ( Q 1 & Q 3) & C hi ef                                                                                  F O R T H E H E A D S O F E X E C U TI V E
                  I nf or m ati o n Offi c er M etri c s ( Q 2)                                                                                    D E P A R T M E N T S A N D A G E N CI E S)


     T &I         Str e n gt h e ni n g t h e C y b er s e c urit y of        F Y 2 X H V A li st r e p ort o n a q u art erl y b a si s           O M B M- 1 9- 0 3                                                           D HS                4/ 1 8/ 2 0 2 5   Y
                  F e d er al A g e n ci e s b y E n h a n ci n g t h e       a n d pr o vi d e u p d at e s a n d m o difi c ati o n s
                  Hi g h V al u e A s s et Pr o gr a m                        vi a H o m el a n d S e c urit y I nf or m ati o n
                                                                              N et w or k ( H SI N)


     T &I        I m pr o vi n g V ul n er a bilit y I d e ntifi c ati o n,   B O D 2 0- 0 1 V ul n er a bilit y Di s cl o s ur e                  O M B- M- 2 0- 3 2                                                          D HS                4/ 1 8/ 2 0 2 5   Y
                  M a n a g e m e nt, a n d R e m e di ati o n                P oli c y r e p orti n g vi a C y b er s c o p e


A d mi n O p s    Q u art erl y F OI A R e p ort                              I n a c c or d a n c e wit h t h e F OI A, t h e                     5 U. S. C. § 5 5 2( e)( 5), (j)( 2)( D)                           D OJ                          4/ 2 5/ 2 0 2 5   Y
                                                                              D e p art m e nt of J u sti c e r e q uir e s a g e n ci e s
                                                                              t o pr o vi d e q u art erl y r e p orti n g of f o ur k e y
                                                                              F OI A st ati sti c s s o t h at t h e y c a n b e
                                                                              p o st e d o n F OI A. g o v.




     T &I          Mi gr ati n g t o P o st- Q u a nt u m                     B y M a y 4, 2 0 2 3, a n d a n n u all y t h er e aft er            M- 2 3- 0 2                                                                 D HS                 5/ 3/ 2 0 2 5    Y
                  Cr y pt o gr a p h y (I n v e nt or y)                      u ntil 2 0 3 5, or a s dir e ct e d b y s u p er s e di n g                                                                                      O MB
                                                                              g ui d a n c e, a g e n ci e s ar e dir e ct e d t o
                                                                              s u b mit a pri oriti z e d i n v e nt or y of
                                                                              i nf or m ati o n s y st e m s a n d a s s et s,
                                                                              e x cl u di n g n ati o n al s e c urit y s y st e m s, t h at
                                                                              c o nt ai n C R Q C- v ul n er a bl e cr y pt o gr a p hi c
                                                                              s y st e m s t o O N C D a n d t h e D e p art m e nt
                                                                              of H o m el a n d S e c urit y C y b er s e c urit y a n d
                                                                              I nfr a str u ct ur e S e c urit y A g e n c y ( CI S A)

O F P/ C F O     D A T A A ct                                                 S u b mi s si o n of r e c o n cili ati o n s of fi n a n ci al      P u bli c L a w 1 1 3- 1 0 1, d at e d M a y 9, 2 0 1 4           U S A s p e n di n g. g o v   5/ 1 5/ 2 0 2 5   N
                                                                              a n d pr o c ur e m e nt d at a t h at s u p p ort s                 a n d t h e offi ci al titl e i s “ Di git al
                                                                              U S A S p e n di n g. g o v                                          A c c o u nt a bilit y a n d Tr a n s p ar e n c y A ct of
                                                                                                                                                   2 0 1 4”
                                                       Case 1:25-cv-00381-ABJ                                           Document 57-2                            Filed 03/04/25                             Page 80 of 108
O F P/ C F O   GTAS                                                        S u b mi s si o n of m o nt hl y fi n a n ci al a n d            C h a pt er 4 7 0 0 of t h e T F M e ntitl e d “ A g e n c y      O MB                          5/ 1 8/ 2 0 2 5   N
                                                                           b u d g et e x e c uti o n d at a; f ulfill st at ut or y        R e p orti n g R e q uir e m e nt s f or t h e Fi n a n ci al     Tr e a s ur y
                                                                           r e q uir e m e nt of 1 0 1 7( a)( 4)( A) q u art erl y          R e p ort of t h e U nit e d St at e s G o v er n m e nt”
                                                                           r e p ort s of fi n a n ci al c o n diti o n a n d r e s ult s
                                                                           of o p er ati o n s


O F P/ C F O   Q u art erl y Fi n a n ci al R e p ort s ( C F O            B u d g et e x e c uti o n b y B u d g et C at e g or y,         D o d d- Fr a n k § 1 0 1 7 ?                                     P u bli c ( p u bli s h e d   5/ 3 0/ 2 0 2 5   N
               U p d at e s)                                               Di vi si o n, a n d l ar g e st o bli g ati o n s f or e a c h                                                                         o n cf p b. g o v )
                                                                           q u art er.



O F P/ C F O   Q u art erl y Fi n a n ci al R e p ort s ( C F O            B u d g et e x e c uti o n b y B u d g et C at e g or y,         D o d d- Fr a n k § 1 0 1 7 ?                                     P u bli c ( p u bli s h e d   5/ 3 0/ 2 0 2 5   N
               U p d at e s)                                               Di vi si o n, a n d l ar g e st o bli g ati o n s f or e a c h                                                                     o n cf p b. g o v )
                                                                           q u art er.


O F P/ C F O   Q u art erl y Fi n a n ci al R e p ort s ( C F O            B u d g et e x e c uti o n b y B u d g et C at e g or y,         D o d d- Fr a n k § 1 0 1 7 ?                                     P u bli c ( p u bli s h e d   5/ 3 0/ 2 0 2 5   N
               U p d at e s)                                               Di vi si o n, a n d l ar g e st o bli g ati o n s f or e a c h                                                                     o n cf p b. g o v )
                                                                           q u art er.


  O C D O      Fi n a n ci al St a bilit y O v er si g ht C o u n cil      T h e I nt er a g e n c y D at a I n v e nt or y i s a           D o d d- Fr a n k W all Str e et R ef or m a n d                  FS O C                        5/ 3 1/ 2 0 2 5   N
               ( F S O C) D at a I n v e nt or y                           pr o d u ct of t h e D at a C o m mitt e e of t h e              C o n s u m er Pr ot e cti o n A ct of 2 0 1 0
                                                                           Fi n a n ci al St a bilit y O v er si g ht C o u n cil
                                                                           ( F S O C). T h e i n v e nt or y c at al o g s t h e d at a
                                                                           c oll e ct e d b y F S O C m e m b er
                                                                           or g a ni z ati o n s. T h e i n v e nt or y c o nt ai n s
                                                                           i nf or m ati o n — m et a d at a — a b o ut e a c h
                                                                           d at a c oll e cti o n. It d o e s n ot c o nt ai n t h e
                                                                           u n d erl yi n g d at a s et s. F or e a c h d at a
                                                                           c oll e cti o n, t h e i n v e nt or y h a s b a si c
                                                                           i nf or m ati o n, s u c h a s a bri ef d e s cri pti o n
                                                                           of t h e c oll e cti o n, c oll e cti n g or g a ni z ati o n,
                                                                           a n d t h e n a m e a n d n u m b er of t h e f or m
                                                                           u s e d t o c oll e ct t h e d at a.


O F P/ C F O   S e mi a n n u al R e p ort of P a y m e nt s               A s r e q uir e d b y t h e st at ut e, t h e B ur e a u         3 1 U. S. C. 1 3 5 3                                              O GE                          5/ 3 1/ 2 0 2 5   Y
               A c c e pt e d fr o m a N o n- F e d er al S o ur c e       m u st s u b mit t o t h e Dir e ct or of t h e Offi c e
                                                                           of G o v er n m e nt Et hi c s r e p ort s of
                                                                           p a y m e nt s of m or e t h a n $ 2 5 0 a c c e pt e d
                                                                           fr o m n o n- F e d er al s o ur c e s f or tr a v el,
                                                                           s u b si st e n c e, a n d r el at e d e x p e n s e s wit h
                                                                           r e s p e ct t o a n e m pl o y e e’ s att e n d a n c e at
                                                                           a n y m e eti n g or si mil ar f u n cti o n r el ati n g
                                                                           t o t h e offi ci al d uti e s of t h e e m pl o y e e.


    T &I        Mi gr ati n g t o P o st- Q u a nt u m                     B y J u n e 4, 2 0 2 3, a n d a n n u all y t h er e aft er      M- 2 3- 0 2                                                                 D HS                 6/ 4/ 2 0 2 5    Y
               Cr y pt o gr a p h y ( F u n di n g E sti m at e s)         u ntil 2 0 3 5, or a s dir e ct e d b y s u p er s e di n g                                                                                  O MB
                                                                           g ui d a n c e, a g e n ci e s ar e r e q uir e d t o
                                                                           s u b mit t o O N C D a n d O M B a n
                                                                           a s s e s s m e nt of t h e f u n di n g r e q uir e d t o
                                                                           mi gr at e i nf or m ati o n s y st e m s a n d a s s et s
                                                                           i n v e nt ori e d u n d er t hi s m e m or a n d u m t o
                                                                           p o st- q u a nt u m cr y pt o gr a p h y d uri n g t h e
                                                                           f oll o wi n g fi s c al y e ar.


    T &I       U p d at e t o M e m or a n d u m M- 2 2- 1 8,              A g e n ci e s m u st s u b mit m etri c s o n                   O M B M- 2 3- 1 6                                                           O MB                 6/ 9/ 2 0 2 5    Y
               E n h a n ci n g t h e S e c urit y of t h e S oft w ar e   c oll e ct e d att e st ati o n l ett er s f or all
               S u p pl y C h ai n t hr o u g h S e c ur e S oft w ar e    s oft w ar e s u bj e ct t o t h e r e q uir e m e nt s of
               D e v el o p m e nt Pr a cti c e s                          M 2 2 1 8 a s a m e n d e d b y t hi s
                              D e v el o p m e nt Pr a cti c e s                M- 2 2- 1 8, a s a m e n d e d b y t hi s Document 57-2
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                                                                                     m e m or a n d u m., a s w ell a s t h e o n a g e n c y
                                                                                     a p pr o v al of P O A & M s A N D n u m b er of
                                                                                     e xt e n si o n s a n d w ai v er s i n pl a c e at e a c h
                                                                                     a g e n c y.


      O F P/ C F O            GTAS                                                   S u b mi s si o n of m o nt hl y fi n a n ci al a n d            C h a pt er 4 7 0 0 of t h e T F M e ntitl e d “ A g e n c y      O MB                  6/ 1 8/ 2 0 2 5   N
                                                                                     b u d g et e x e c uti o n d at a; f ulfill st at ut or y        R e p orti n g R e q uir e m e nt s f or t h e Fi n a n ci al     Tr e a s ur y
                                                                                     r e q uir e m e nt of 1 0 1 7( a)( 4)( A) q u art erl y          R e p ort of t h e U nit e d St at e s G o v er n m e nt”
                                                                                     r e p ort s of fi n a n ci al c o n diti o n a n d r e s ult s
                                                                                     of o p er ati o n s


      O F P/ C F O            Q u art erl y Tr a n sf er R e q u e st s              L ett er s r e q u e sti n g tr a n sf er of f u n d s fr o m    D o d d- Fr a n k § 1 0 1 7( a)( 1)                               F RB                  6/ 2 0/ 2 0 2 5   N
                                                                                     t h e F e d R e s er v e t o C F P B                                                                                               C o n gr e s s


     O F P/ P R O C           F e d er al A cti viti e s I n v e nt or y R e p ort   T h e I n v e nt or y d e pi ct s t h e C F P B’ s               F e d er al A cti viti e s I n v e nt or y R ef or m A ct of      C o n gr e s s,       6/ 3 0/ 2 0 2 5   Y
                               ( F AI R)                                             w or kf or c e b y f u n cti o n s ( or a cti viti e s)          1 9 9 8 ( P. L. 1 0 5- 2 7 0) a n d O M B Cir c ul ar A-          O M B, M A X. G O V
                                                                                     p erf or m e d b y B ur e a u e m pl o y e e s. T h e            7 6 - C o m p etiti v e S o ur ci n g
                                                                                     I n v e nt or y f urt h er br e a k s d o w n t h e s e
                                                                                     a cti viti e s i nt o I n h er e ntl y G o v er n m e nt al
                                                                                     ( a cti viti e s t h at c a n o nl y b e p erf or m e d b y
                                                                                     a F e d er al e m pl o y e e) a n d C o m m er ci al
                                                                                     ( A cti viti e s t h at c a n b e p erf or m e d b y
                                                                                     F e d er al or c o ntr a ct e m pl o y e e s)
                                                                                     c at e g ori e s. T h e n u m b er of F ull- Ti m e
                                                                                     E q ui v al e nt s ( F T E s) i s al s o di s pl a y e d b y
                                                                                     l o c ati o n.




S c ott L e e

S e ni or A d vis or t o t h e C hi ef O p er ati n g Offi c er - O p er ati o ns

C o ns u m er Fi n a n ci al Pr ot e cti o n B ur e a u ( C F P B)
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      E x hi bit B B
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      E x hi bit B B
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      E x hi bit C C
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Fr o m: J er e m y A. Cr o u s e
D at e: O n M o n d a y, M ar c h 3r d, 2 0 2 5 at 1 2: 3 1 P M
S u bj e ct: S e p ar ati o n S F 5 0
T o:


         G o o d M or ni n g,



         Att a c h e d y o u will fi n d y o ur S e p ar ati o n S F 5 0 t h at w a s p ull e d fr o m y o ur e O P F .



         T h a n k y o u,



         J er e m y A. Cr o us e



         J er e m y A. Cr o u s e

         H u m a n R e s o ur c e s A s si st a nt

         B ur e a u of t h e Fi s c al S er vi c e
         P er s o n n el A cti o n s Pr o c e s si n g Br a n c h


         P h o n e:



         *** C O N T R O L L E D U N C L A S SI FI E D I N F O R M A TI O N***



         <i m a g e 0 0 1. p n g >



         N O T E: Pl e a s e b e a w ar e t h at if y o u e m ail d o c u m e nt s c o nt ai ni n g p er s o n all y i d e nti ﬁ a bl e i nf or m ati o n
         ( PII), t h e i nf or m ati o n m a y n ot b e s e c ur e a n d y o ur e m ail m a y b e i nt er c e pt e d or ot h er wi s e vi e w e d
         a g ai n st y o ur wi s h e s. A R C str o n gl y e n c o ur a g e s y o u n ot t o u s e u n s e c ur e d e m ail a s a m e a n s t o
         c o m m u ni c at e s e n siti v e i nf or m ati o n t o u s. T o h el p s e c ur e y o ur d at a, pl e a s e c o nt a ct m e a n d r e q u e st
         t h at I s e n d y o u a n e n cr y pt e d e m ail m e s s a g e; y o u c a n t h e n o p e n a n d r e s p o n d t o t h e m e s s a g e a n d t hi s
         will t h e n e n cr y pt y o ur m e s s a g e a n d a n y att a c h m e nt s y o u s e n d m e.
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< O R o ur k e- O w e n s T er m S F 5 0 _ R e d a ct e d. p df >
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      E x hi bit D D
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      E x hi bit E E
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       E x hi bit F F
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I a m writi n g t o r ai s e si g niﬁ c a nt c o n c er n s r e g ar di n g a n i nt er n al a g e n c y c o m m u ni c ati o n y o u a p p ar e ntl y s e nt
y e st er d a y t h at dir e ctl y c o ntr a di ct s a n e m ail fr o m m e t o all C F P B st aff a b o ut m y dir e cti o n f or all st aff t o
p erf or m all st at ut oril y r e q uir e d w or k.


I n a n e m ail A d a m M arti n e z s e nt o n S u n d a y ( M ar c h 2 n d ) c o n v e yi n g a m e s s a g e fr o m m e t o t h e e ntir e C F P B
st aff, I dir e ct e d A L L C F P B st aff t o p erf or m all w or k r e q uir e d b y l a w a n d t h at t h e y di d n ot n e e d t o s e e k pri or
a p pr o v al t o d o s o. N ot hi n g I h a v e s ai d or writt e n si n c e t h e n c o ntr a di ct s t h at. Y o u r e a c h e d o ut t o m e
y e st er d a y, a n d a s I a m d u al h att e d a n d h a v e j o b d uti e s at O M B, I w a s n ot a bl e t o r e vi e w a n d r e s p o n d t o
y o ur e m ail y e st er d a y . B ut I r e a d a n e w s r e p ort i n R e ut er s t h at y o u r e p ort e dl y s e nt a n i nt er n al a g e n c y
c o m m u ni c ati o n cl ai mi n g t h at “ W e h a v e r e q u e st e d a n d r e c ei v e d cl ari ﬁ c ati o n t h at t h eir m e s s a g e w a s n ot
i nt e n d e d t o a ut h ori z e t h e r ei n st at e m e nt of s u p er vi si o n/ e x a mi n ati o n a cti vit y, e v e n t h o u g h t h e B ur e a u i s
r e q uir e d b y l a w t o c arr y o ut t h e s e a cti viti e s.”


I m p ort a ntl y, y o u di d n ot r e c ei v e t h at m e s s a g e fr o m m e. Y o u a p p ar e ntl y r eli e d o n a n e m ail fr o m A d a m, b ut
hi s e m ail r ef er s y o u t o A cti n g Dir e ct or V o u g ht’ s F e br u ar y 8 t h e m ail w hi c h s p e ci ﬁ c all y st at e s t h at y o u ar e t o
p erf or m a n y w or k “r e q uir e d b y l a w .” A n d h e e n c o ur a g e d y o u t o c o m m u ni c at e wit h m e, a n d pr e s u m a bl y, w ait
t o h e ar fr o m m e b ef or e s e n di n g o ut a n e m ail t h at dir e ctl y c o ntra di ct e d m y m e s s a g e o n M ar c h 2 n d t o C F P B
e m pl o y e e s.


I a m c o n c er n e d t h at y o u s e nt o ut a n i nt er n al a g e n c y c o m m u ni c atio n o n s u c h a n u nf o u n d e d b a si s t h at i s
f al s e a n d dir e ctl y c o ntr a di ct s m y M ar c h 2 n d m e s s a g e wit h o ut ﬁ r st g etti n g c o nﬁ r m ati o n dir e ctl y fr o m m e. Y o ur
a cti o n s s e v er el y u n d er mi n e t h e A g e n c y l e a d er s hi p’ s a bilit y t o s u p er vi s e t h e a g e n c y st aff a n d t o e n s ur e t h at
st at ut oril y r e q uir e d d uti e s ar e b ei n g p erf or m e d.


M or e o v er, y o ur i nt er n al c o m m u ni c ati o n s o m e h o w m a d e it s w a y t o t h e pr e s s, f urt h er u n d er mi ni n g o ur eff ort s
t o s u p er vi s e a g e n c y st aff.


L et m e b e cl e ar t o y o u a n d t h e e ntir e s u p er vi si o n of ﬁ c e, w hi c h I h a v e c c’ d o n t hi s e m ail: Y o u ar e a ut h ori z e d
a n d dir e ct e d t o w or k o n m att er s s p e ci ﬁ c all y r e q uir e d b y st at ut e. T h at s ai d, it i s of c o ur s e wit hi n t h e n e w
l e a d er s hi p’ s di s cr eti o n a s t o w h at m att er s C F P B will f o c u s o n.


T h e B ur e a u’ s n e w l e a d er s hi p s e e k s t o u n d er st a n d t h e st at u s of all of t h e a g e n c y’ s a cti o n s s o it c a n ali g n
s u c h a cti o n s t o t h e B ur e a u’ s n e w pri oriti e s c o n si st e nt wit h l a w. W e h a v e b e e n ai d e d i n d oi n g s o b y r e p ort s
pr e p ar e d b y t h e E nf or c e m e nt Di vi si o n, L e g al Di vi si o n, a n d Of ﬁ c e of R e g ul ati o n s s h o wi n g t h e st at u s of all
a cti o n s wit hi n t h eir r e s p e cti v e p ur vi e w, u p c o mi n g d e a dli n e s, st at ut or y r e q uir e m e nt s, a n d ot h er r el e v a nt
m att er s. S u c h i nf or m ati o n i s vit al t o all o wi n g n e w l e a d er s hi p t o e n s ur e t h e B ur e a u i s f ait hf ull y e x e c uti n g t h e
l a w. A n d i n f a ct, I h a v e a p pr o v e d n u m er o u s r e q u e st s fr o m t h e s e a n d ot h er di vi si o n s t o p erf or m w or k t h at i s
st at ut oril y r e q uir e d or mi s si o n- ali g n e d wit h t h e n e w l e a d er s hi p .


A c c or di n gl y, I a m dir e cti n g y o u t o pr e p ar e a r e p ort f or t h e B ur e a u’ s l e a d er s hi p pr o vi di n g a d e s cri pti o n of all
p e n di n g e x a mi n ati o n a cti o n s, i n cl u di n g t h eir c urr e nt st at u s. P r o vi d e t h e n a m e of t h e l e a d C F P B e x a mi n er
o n e a c h m att er, a n d t h e c o nt a ct i nf or m ati o n f or t h e l e a d att or n e y f or t h e c o m p a n y u n d er e x a mi n ati o n.


A s p art of t hi s r e p ort, pl e a s e ﬂ a g a n y p arti c ul ar a cti o n s t h at y o u b eli e v e ar e s p e ci ﬁ c all y r e q uir e d b y st at ut e.
L e a d er s hi p will r e vi e w it a n d d et er mi n e w hi c h a cti o n s t o c o nti n u e t o p ur s u e a n d t o cl o s e.


A d diti o n all y, pl e a s e n otif y e v er y e m pl o y e e i n y o ur di vi si o n t o pr o vi d e t o m e a writt e n s u m m ar y of t h e s p e ci ﬁ c
m att er s t h e y ar e w or ki n g o n, wit h t h e n a m e of t h e e ntit y b ei n g e x a mi n e d, h o w t h e m att er w a s c o m m e n c e d
a n d a p pr o xi m at el y h o w m a n y h o ur s t h e y h a v e s p e nt o n t h e m att er.


Pl e a s e s u b mit y o ur r e p ort a n d dir e ct e v er y e m pl o y e e i n y o ur di v i si o n t o s u b mit t h eir r e s p o n s e t o m e b y C O B
M o n d a y, M ar c h 1 0 t h.
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                  Case 1:25-cv-00381-ABJ                                  Document 57-2                        Filed 03/04/25                     Page 102 of 108
C a s s a n d r a H u g gi n s
P ri n ci p al D e p ut y A s si st a nt Di r e ct o r | S u p e r vi si o n P oli c y & O p e r ati o n s
M o bil e:

C o n s u m e r Fi n a n ci al P r ot e cti o n B u r e a u
c o n s u m erfi n a n c e. g o v


C o nfi d e nti alit y N oti c e: If y o u r e c ei v e d t hi s e m ail b y mi st a k e, y o u s h o ul d n otif y t h e s e n d e r of t h e mi st a k e a n d d el et e t h e e- m ail a n d
a n y att a c h m e nt s. A n i n a d v e rt e nt di s cl o s u r e i s n ot i nt e n d e d t o w ai v e a n y p ri vil e g e s.

Fr o m: M arti n e z, A d a m ( C F P B) <                                                                 >
S e nt: S u n d a y, M ar c h 2, 2 0 2 5 3: 3 3 P M
C c: P a ol ett a, M ar k ( C F P B) <                                     >
S u bj e ct: All H a n d s M e s s a g e r e: W or k R e q uir e d b y L a w


M e s s a g e fr o m M ar k P a ol ett a, C hi ef L e g al Of ﬁ c er

O n b e h alf of A cti n g Dir e ct or V o u g ht, I a m writi n g t o y o u t o e n s ur e t h at e v er y o n e i s c arr yi n g o ut a n y
st at ut oril y r e q uir e d w or k, a s h e s et f ort h i n hi s F e br u ar y 8 t h e m ail.

O n F e br u ar y 8, 2 0 2 5, y o u r e c ei v e d a n e m ail fr o m A cti n g Dir e ct or V o u g ht dir e cti n g y o u t o h alt s e v er al
cl a s s e s of w or k u nl e s s “r e q uir e d b y l a w” or e x pr e s sl y a p pr o v e d b y t h e A cti n g Dir e ct or. O n F e br u ar y 1 0,
2 0 2 5, y o u r e c ei v e d a n e m ail fr o m A cti n g Dir e ct or V o u g ht dir e cti n g y o u t o r e a c h o ut t o m e f or t h e
a ut h ori z ati o n r e q uir e d b y t h e F e br u ar y 8 e m ail. T h e s e m e a s ur e s w er e i nt e n d e d t o e n s ur e t h at n e w
l e a d er s hi p c o ul d e st a bli s h o p er ati o n al c o ntr ol o v er t h e a g e n c y w hil e e n s uri n g t h at it w o ul d c o nti n u e t o f ul ﬁ ll
it s st at ut or y d uti e s. M a n y of y o u u n d er st o o d t hi s a n d c o nti n u e d t o p erf or m f u n cti o n s r e q uir e d b y l a w a n d
s o u g ht a p pr o v al fr o m m e t o p erf or m w or k, w hi c h I h a v e pr o m ptl y gr a nt e d.

It h a s c o m e t o m y att e nti o n, h o w e v er, t h at s o m e e m pl o y e e s h a v e n ot b e e n p erf or mi n g st at ut oril y r e q uir e d
w or k. L et m e b e cl e ar: E m pl o y e e s s h o ul d b e p erf or mi n g w or k t h at i s r e q uir e d b y l a w a n d d o n ot n e e d t o
s e e k pri or a p pr o v al t o d o s o. If y o u h a v e a n y q u e sti o n s, pl e a s e r e a c h o ut t o m e i m m e di at el y, a n d I will
pr o m ptl y gi v e y o u a n a n s w er a n d a ut h ori z ati o n if w arr a nt e d. If y o u ar e a w ar e of ot h er e m pl o y e e s t h at ar e
n e e d e d t o a s si st y o u i n p erf or mi n g a st at ut oril y r e q uir e d t a s k b ut ar e n ot d oi n g s o, pl e a s e r ai s e t hi s wit h m e
i m m e di at el y.

T h a n k y o u f or y o ur att e nti o n t o t hi s m att er.


M ar k P a ol ett a
C hi ef L e g al Of ﬁ c er
CFPB
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     E x hi bit H H
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Pr e si d e nt Tr u m p c o m m e n c e d hi s pl a n t o d o w n si z e t h e f e d er al
b ur e a u cr a c y a n d eli mi n at e w a st e, bl o at, a n d i n s ul arit y.
        Pr e si d e nt Tr u m p or d er e d f e d er al w or k er s t o r et ur n t o t h e offi c e fi v e
        d a y s a w e e k.

        Pr e si d e nt Tr u m p or d er e d f e d er al a g e n ci e s hir e n o m or e t h a n o n e
        e m pl o y e e f or e v er y f o ur e m pl o y e e s w h o l e a v e.

        Pr e si d e nt Tr u m p e n d e d t h e w a st ef ul F e d er al E x e c uti v e I n stit ut e,
        w hi c h h a d b e c o m e a tr ai ni n g gr o u n d f or b ur e a u cr at s.

        Pr e si d e nt Tr u m p or d er e d t h e t er mi n ati o n of all f e d er al F a k e N e w s
        m e di a c o ntr a ct s.

Pr e si d e nt Tr u m p i s r ei g ni n g i n a g e n ci e s o v ert a k e n b y u n el e ct e d
b ur e a u cr at s.
        Pr e si d e nt Tr u m p st o p p e d t h e w a st e, fr a u d, a n d a b u s e wit hi n
        U S AI D      — e n s uri n g t a x p a y er s ar e n o l o n g er o n t h e h o o k f or f u n di n g
        t h e p et pr oj e ct s of e ntr e n c h e d b ur e a u cr at s, s u c h a s s e x c h a n g e s i n
        G u at e m al a.

        Pr e si d e nt Tr u m p or d er e d t h e C o n s u m er Fi n a n ci al Pr ot e cti o n B ur e a u
        — t h e br ai n c hil d of Eli z a b et h WW arr
                                                     arr ee nn, w hi c h f u n n el e d c a s h t o l eft -
        wi n g a d v o c a c y gr o u p s — t o h alt o p er ati o n s.

        T h e E n vir o n m e nt al Pr ot e cti o n A g e n c y c a n c el e d t e n s of milli o n s of
        d oll ar s i n c o ntr a ct s t o l eft - wi n g a d v o c a c y gr o u p s, a n n o u n c e d a n
        i n v e sti g ati o n i nt o a s c h e m e b y Bi d e n E P A st aff er s t o s hi el d billi o n s of
        d oll ar s fr o m o v er si g ht a n d a c c o u nt a bilit y, a n d p ut 1 6 8
        “ e n vir o n m e nt al j u sti c e” e m pl o y e e s o n l e a v e.

        Pr e si d e nt Tr u m p r e v er s e d t h e m a s si v e o v er - e x p a n si o n of t h e I R S
        t h at t o o k pl a c e d uri n g t h e Bi d e n A d mi ni str ati o n.

        Pr e si d e nt Tr u m p or d er e d a r e vi e w of f u n di n g f or all n o n -
        g o v er n m e nt al or g a ni z ati o n s s o t a x p a y er s ar e n o l o n g er f u n di n g
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        t h o s e t h at u n d er mi n e A m eri c a’s i nt er e st s.
                T h e r e vi e w i d e ntifi e d 1 5, 0 0 0 gr a nt s w ort h $ 6 0 billi o n f or
                p ot e nti al eli mi n ati o n.

        T h e D e p art m e nt of St at e i s s u e d a “ p a u s e” o n e xi sti n g f or ei g n ai d
        gr a nt s t o e n s ur e a c c o u nt a bilit y a n d effi ci e n c y.

        Pr e si d e nt Tr u m p s h ut d o w n t h e w a st ef ul Bi d e n - er a “ Cli m at e C or p s”
        pr o gr a m.

Pr e si d e nt Tr u m p lift e d l a st - mi n ut e c oll e cti v e b ar g ai ni n g a gr e e m e nt s
i s s u e d b y t h e Bi d e n A d mi ni str ati o n, w hi c h s o u g ht t o i m p e d e r ef or m.




                                                   N e ws

                                          A d mi ni str ati o n

                                                   Iss u es

                                                 C o nt a ct

                                                     Vi sit




                                         T HE     W HI T E H O U S E

                                      1 6 0 0 P e n n s yl v a ni a A v e N W
                                        W a s hi n gt o n, D C 2 0 5 0 0
